     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 1 of 68




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEvV YORK

UNITED STATES OF AMERICA,

                 -against­                                      09 Cr. 1184 (RJH)

                                                          MEMORANDUM OPINION
RAJ RAJARATNAM and DANlELLE CHIEST,                               AND ORDER

                              Defendants.



Richard J. Holwell, District Judge:

       Defendants Raj Rajaratnam ("Rajaratnam") and Danielle Chiesi ("Chiesi") have

moved to suppress the Title III material gathered by the government's wiretaps of their

respective phones. Each makes four separate arguments for suppression in full or part:

(1) the government was not entitled to use wiretaps to investigate insider trading, a crime

not specified in Title III; (2) the government's application and supporting affidavits failed

to establish probable cause; (3) the government's application and supporting affidavits

failed to establish the inadequacy of conventional investigative procedures and, therefore,

the "necessity" of using wiretaps; and (4) the government failed to minimize various

conversations.

       The Court concludes that defendants' arguments do not justify suppression and

therefore denies both motions. Because Title III authorizes the government to use

wiretaps to investigate wire fraud, the government was authorized to use wiretaps to

investigate a fraudulent insider trading scheme using interstate wires even though Title III

does not specifically authorize wiretaps to investigate insider trading alone.




                                              1
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 2 of 68




       With regard to probable cause, Chiesi has failed to show that the government's

wiretap application contained material misstatements or omissions, or was otherwise

deficient in showing probable cause. Rajaratnam has shown that the government's

application omitted and misstated important information regarding the credibility of a key

government informant, Roomy Kahn, but suppression is not required because the

remainder of the affidavit demonstrated ample reason to find probable cause.

       Chiesi has likewise failed to make a preliminary showing that the government's

wiretap application was deficient in showing that a wiretap was necessary. As for

Rajaratnam, necessity presents a closer question. Earlier this year, the Court found that

Rajaratnam had made a substantial preliminary showing that the government recklessly

failed to disclose that the SEC had been conducting its own insider trading investigation

ofRajaratnam upon which the government's criminal investigation substantially relied.

A four-day hearing last month confirms in the Court's judgment that the government

failed to disclose the nature and extent of the SEC investigation even though (1) that

investigation was the most important part of the criminal investigation at the time of the

wiretap application and (2) that investigation employed entirely conventional

investigative techniques. Given that an issuing court relies on the government candidly

to disclose the full nature and scope of its investigation in order to determine whether a

wiretap is necessary, the omissions here are troubling to say the least. But that is not the

end of the matter. The hearing also demonstrated that, while the SEC investigation used

conventional techniques and was the bedrock of the prosecutor's own criminal

investigation, the SEC investigation had nevertheless failed to fully uncover the scope of

Rajaratnam's alleged insider trading ring and was reasonably unlikely to do so because




                                              2
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 3 of 68




evidence suggested that Rajaratnam and others conducted their scheme by telephone.

Accordingly, disclosure of all the details ofthe SEC's investigation that the government

recklessly omitted would ultimately have shown that a wiretap was necessary and

appropriate.

       Finally, the government complied with its statutory responsibility to minimize

recording calls unrelated to the crimes the government had probable cause to suspect.


                                     BACKGROUND

       The United States Attorney's Office for this district ("USAO") and the FBI began

the criminal investigation resulting in the indictment of Raj aratnarn in 2007. 1 The

investigation of Chiesi apparently did not begin until later, sometime in mid-2008. In

connection with these investigations, the government sought and obtained authorization

to wiretap Rajaratnam's and Chiesi's phones.

       The government first sought authorization to wiretap Rajaratnam's cell phone in

an application submitted to Judge Lynch on March 7,2008. (Gov't Opp'n to Rajaratnam

Ex. I-A.) Attached to that sworn application was a 53-page affidavit of FBI Special

Agent B. J. Kang ("Kang"). (Gov't Opp'n to Rajaratnam Ex. I-C.) Judge Lynch granted

the application for a 30-day wiretap, finding (1) probable cause that Rajaratnam and

others were involved, inter alia, in wire fraud the extent of which would be revealed

through the interception of telephone communications, and (2) that a wiretap was

necessary in that normal investigative techniques were or would be unlikely to succeed in

uncovering the fraud. (Gov't Opp'n to Rajaratnam Ex. I-D.) The government began


I The USAO and the FBI arc refelTed to separately and together as "the government" or,
occasionally, "the prosecutor" or "the criminal authorities." The Securities and Exchange
Commission is refelTed to as the SEC throughout.


                                              3
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 4 of 68




intercepting communications over Raj aratnam 's phone on or about March 10.

Thereafter, the government applied for authorization to continue intercepting

Rajaratnam's phone for another 30 days. (Gov't Opp'n to Rajaratnam Exs. 2-A, 2-C.)

On April 8, Judge Cote granted that application. (Gov't Opp'n to Rajaratnam           2-D.)

The government applied for reauthorization six more times, between May and November

of2008, each application based substantially on intercepts over Rajaratnam's phone, and

each application authorized by a judge in this district. (Gov't Opp'n to Rajaratnam Exs.

3-D, 4-1, 5-D, 6-D, 7-D, 8-D.)

       On August 13, 2008, the government applied for authorization to wiretap three

phones that Chiesi subscribed to and used. (Gov't Opp'n to Chiesi, Exs.l-A, I-B, I-C.)

Judge Sullivan granted the request that day. (Gov't Opp'n to Chiesi        I-D.) He

approved a second 30-day application on September 12, 2008. (Gov't Opp'n to Chiesi

Ex. 2-D.)

       On October 16, 2009, Rajaratnam, Chiesi, and others were arrested and charged

with multiple counts of conspiracy and securities fraud. The original indictment was

returned against both defendants on December 15,2009, and a superseding indictment

was returned on February 9, 2010 (Gov't Opp'n to Rajaratnam         12).

       Both defendants moved to suppress the evidence that the government obtained

through the wiretaps on their phones. In connection therewith, Rajaratnam requested a

hearing under Franks v. Delaware, 438 U.S. 154 (1978) (a "Franks hearing"). In Frank'),

the Supreme Court held that, despite the "presumption of validity with respect to the

affidavit supporting [aJ search warrant", a defendant can challenge an affidavit "where

the defendant makes a substantial preliminary showing that a false statement knowingly




                                            4
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 5 of 68




and intentionally, or with reckless disregard for the truth, was included by the affiant in

the warrant affidavit, and if the allegedly false statement is necessary to the finding of
                                      2
probable cause ...." Jd. at 155-56.       The Court denied Raj aratnam's request for a Franks

hearing regarding probable cause but found that he had "at least established good grounds

for holding a Franks hearing regarding the veracity ofthe [Kang] affidavit and the issue

vel non of whether the necessity requirement has been satisfied." United States v.

Rajaratnam, 2010 WL 3219333, at **1-2 (S.D.N.Y. Aug. 12,2010). The Court reserved

judgment on other aspects of the defendants' motion to suppress. (July 27,2010 Hr'g Tr.

at 157.) In his post-hearing submission, Rajaratnam asked the Court to reconsider its

prior holding regarding probable cause. (See Rajaratnam Post Hr'g Br. at 47-49.) 3

                                          DISCUSSION

        Rajaratnam's and Chiesi's motions raise essentially the same arguments. First,

they argue that Title III does not authorize the use of wiretaps to investigate insider

trading, an offense not specifically mentioned in the statute. They also argue that the

government's wiretap affidavits in this case failed to establish (i) probable cause to use a

wiretap and (ii) that wiretapping was necessary to the government's investigation.

Finally, both argue that the government did not properly minimize its interceptions,




2 In Franks v. Delaware, 438 U.S. 154 (1978), the Supreme Court further held that, "[i]n
the event that at that hearing the allegation of peIjury or reckless disregard is established
by the defendant by a preponderance of the evidence, and, with the affidavit's false
material set to one side, the affidavit's remaining content is insufficient to establish
probable cause, the search warrant must be voided and the fruits of the search excluded to
the same extent as if probable cause was lacking on the face of the affidavit." Jd. at 156.

3 Citations abbreviated "Br.", "Opp'n", or "Rep. Br." refer to the parties' initial
submissions. Citations to papers' abbreviated "Post Hr' g Br.", "Post Hr' g Opp'n" or
"Post Hr' g Reply Br." refer to the parties' submissions following the Franks hearing.


                                                 5
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 6 of 68




which they say justifies suppression in part or full. The Court addresses each of these

arguments in tum.


I.     Use of Title III to Investigate Insider Trading

       When a court authorizes a wiretap, Title III requires that it "specify the offenses

in connection with which the pennission was granted ...." United States v. Masciarelli,

558 F.2d 1064, 1067 (2d Cir. 1977); see 18 U.S.C. § 2518(1)(b)(i), (3)(b), 4(c). Wiretaps

may only be authorized to investigate offenses specified in Section 2516. See 18 U.S.C.

§ 2516. Still, the statute recognizes that "a law enforcement officer lawfully engaged in a

search for evidence of one crime" may happen upon evidence of another crime not

specified in the court's authorization order-and perhaps not specified in Section 2516

either. Masciarelli, 558 F.2d at 1067. When that happens, "the public interest militates

against [the officer's] being required to ignore what is in plain view." Id. Thus Title III

contains what is in some sense a plain-view exception, which allows the government to

offer evidence of other crimes when that evidence is obtained during the course of an

investigation for an authorized offense. See id.; 18 V.S.c. § 2517(5). Specifically,

Section 2517(5) provides that:

       [wJhen an investigative or law enforcement officer, while engaged in intercepting
       wire, oral, or electronic communications in the manner authorized herein,
       intercepts wire, oral, or electronic communications relating to offenses other than
       those specified in the order of authorization or approval, the contents thereof, and
       evidence derived therefrom, ... may be used under subsection (3) of this section
       when authorized or approved by a judge of competent jurisdiction where such
       judge finds on subsequent application that the contents were otherwise intercepted
       in accordance with the provisions of this chapter. Such application shall be made
       as soon as practicable.




                                             6
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 7 of 68



                       4
18 U.S.c. § 2517(5).

       Under the tenns of Section 2517(5), the government can only use wiretap

evidence of crimes "other than those specified" in the authorization order or in Section

2516 by obtaining judicial approval "as soon as practicab Ie." The section "does not

specify the exact fonn an application for subsequent approval should take, nor exactly

what procedures a court should follow in giving or denying its authorization." United

States v. Gerena, 653 F. Supp. 974,978 (D. Conn. 1987). Thus courts in this circuit have

looked to Congress's intent in enacting the provision, and have consistently applied the

following test: the government must show that "the original order was lawfully obtained,

that it was sought in good faith and not as a subterfuge search, and that the

communication was in fact incidentally intercepted during the course of a lawfully

executed order." United States v. Marion, 535 F.2d 697, 700 (2d Cir. 1976) (quoting S.

Rep. No. 90-1097, at 12 (1968), reprinted in 1968 U.S.C.C.A.N. 2112, 2189). Courts

treat these standards less as independent prongs than as various ways of stating the

government's obligations. The government must obtain wiretap warrants in good faith-

that is, in connection with an offense for which Title III pennits wiretapping-not as a

subterfuge for gathering evidence of other offenses. If the government does so, any other

evidence it happens to intercept will have been intercepted incidentally. See United

States v. Levine, 690 F. Supp. 1165, 1171 (E.D.N.Y. 1988).

       In this case, the government's actions do not reflect subterfuge. The wiretap

applications candidly detailed the nature of the scheme for which wiretaps were sought.


4Section 2517(3) allows for the disclosure of wiretap evidence "while giving testimony
under oath or affirmation in any proceeding held under the authority of the United States
or of any State or political subdivision thereof." 18 U.S.c. § 2517(3).



                                              7
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 8 of 68




They described the evidence of an insider trading conspiracy that involved Rajaratnam

and Chiesi; they stated that the evidence established probable cause of wire fraud and

money laundering; and they noted that the evidence would also establish probable cause

of the defendants' participation in securities fraud, although that crime was not an

authorized predicate offense under Title III. (See, e.g., Gov't Opp'n to Rajaratnam Ex. 1­

C at 3 & n.l; Gov't Opp 'n to Chiesi Ex. l-C at 3 & n. 1.) In other words, the government

made quite clear that it wanted to use wiretaps to investigate an insider trading

conspiracy, and that the investigation would likely uncover evidence of wire fraud and

money laundering (offenses for which Title III specifically permits wiretaps) and

securities fraud (an offense for which it does not). Cf Levine, 690 F. Supp. at 1170 ("A

factor pertinent to the determination of good faith may be whether the officials concealed

from the judge issuing or extending the original warrant the fact that they foresaw a high

likelihood that evidence of other crimes would be revealed. To hide that fact might give

rise to an inference of bad faith.").s With all these facts in hand, several judges in this

district found probable cause that Rajaratnam and Chiesi had committed or would




5 The issuing judges did not know and could not have predicted that the government
would ultimately charge the defendants with only securities fraud, not wire fraud or
money laundering. (Cf Rajaratnam Br. at 63.) But the government should not be
required to charge the crime for which it obtains wiretap authorization. Although
charging a defendant with the crime for which wiretapping was authorized is some
evidence of the government's good faith, see United States v. Levine, 690 F. Supp. 1165,
1171 (E.D.N.Y. 1988), the converse is not necessarily true. The government's charging
decisions depend on a variety of factors. That it decides not to charge a defendant with a
crime for which it previously sought wiretap authorization does not imply it had no
legitimate reason for the wiretap to begin with.



                                               8
      Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 9 of 68




commit the crimes of wire fraud and money laundering. 6 Accordingly, all authorized the

use of wiretaps in connection with the govemment's investigation.

       Still, defendants say the govemment should not be allowed to use wiretap

intercepts as evidence of securities fraud here. They argue that the interception of

communications evidencing securities fraud could not have been incidental, because (1) it

was the govemment's primary objective; (2) at a minimum it was anticipated; and (3) to

so hold would undermine Congress's intent in enacting Title III. Each ofthese

arguments is unavailing.

       Defendants contend that the govemment's primary objective in using wiretaps

was to drum up evidence of securities fraud, as shown by the wiretap applications' focus

on insider trading as opposed to wire fraud. But defendants' argument unrealistically

assumes a gulf between these two crimes. Securities fraud does contain an additional

element, "fraud in connection with the purchase or sale of any security"; and wire fraud

does require the "use of interstate wires." United States v. Regensberg, 604 F. Supp. 2d

625,634 (S.D.N.Y. 2009). But unlikely is the insider trading scheme that uses no

interstate wires. Sometimes the govemment even charges both kinds of fraud for the

same core conduct, a practice that Congress, in the legislative history of the Insider

Trading and Securities Fraud Enforcement Act of 1988, and the Supreme Court have both

endorsed. See H.R. Rep. 100-910, at 29 (1988), reprinted in 1988 U.S.C.C.A.N. 6043,

6074 (stating that the govemment can "litigate insider trading cases based on other

provisions of the securities laws and of the general mail and wire fraud statutes"); United


(, These findings are entitled to substantial deference. See United States v. Wagner, 989
F.2d 69, 72 (2d Cir. 1993) ("A reviewing court must accord substantial deference to the
finding of an issuing judicial officer that probable cause exists.").



                                              9
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 10 of 68




States v. Carpenter, 484 U.S. 19,28 (1987) (holding that conspiracy to trade on

confidential infOlmation was within "the reach of the mail and wire fraud statutes,

provided the other elements of the offenses are satisfied"). Here the government had

evidence of insider trading with a wire. (See Gov't Opp'n to Rajaratnam Ex.l-C ~~ 7, to,

11, 18, 19.) Therefore it makes little sense to call securities fraud a primary objective and

wire fraud a "fig leaf' (Rajaratnam Reply Br. at 40).

       Of course, there is no denying that, in intercepting communications that would

provide evidence of wire fraud, the government expected to get evidence of securities

fraud, too. In that way this case is different from the usual one involving Section

2517(5), where the government          permission to investigate one crime using a wiretap,

and while doing so happens upon an entirely different crime. Cf United States v. Gatti,

42    Supp. 2d 252,   269~70   (S.D.N.Y. 1999) (Parker, J.) (evidence of access device fraud

was incidentally intercepted during the course of a lawfully executed order authorizing

the interception of communications relating to money laundering); United States v.

Giordano, 259 F. Supp. 2d 146, 153-155 (D. Conn. 2003) (evidence of sex offense with

minor was incidentally intercepted during the lawfully authorized interception of

communications relating to corruption and racketeering activities). Here, by contrast, the

government wiretapped phones seeking evidence of conduct that would violate both the

criminal statute for which wiretapping was authorized as well as another criminal law.

Defendants say that this sort of anticipated interception cannot count as incidental.

        If the test were inadvertence, the defendants would be right. But that is not the

test. "Incidental," not "inadvertent," is the word used in Title Ill's legislative history.

And, although the Second Circuit has sometimes used the word "inadvertent" in dicta,




                                              10
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 11 of 68




more recent authority has implicitly rejected that gloss on the standard. Compare

Marion, 535 F.2d at 701 ("Without ajudge's determination of inadvertence, Title III

authorization might rapidly degenerate into ... the electronic equivalent of a general

search wan-ant.") (internal quotation marks omitted), and Masciarelli, 558 F.2d at 1067

(when an officer "inadvertently comes upon evidence of another crime," he should not be

required to "ignore" it), with In re Grand Jury Subpoena SenJed on John Doe, 889 F.2d

384, 388 (2d Cir. 1989) (finding that a wiretap, which was expected to reveal evidence of

both the authorized crime and another crime, intercepted evidence of the second crime

incidentally), and United States v. Wager, No. 00-Cr.-629, 2002 WL 31106351, at *2, *4

(S.D.N.Y. Sept. 20, 2002) (finding that evidence of securities fraud was intercepted

incidentally, despite the fact that the government's original wan-ant application had noted

that there was probable cause of securities fraud); see also United States v. McKinnon,

721 F.2d 19, 22-23 (1 st Cir. 1983) ("While an interception that is unanticipated is a

fortiori incidental, the converse is not true: something does not have to be unanticipated

to be incidental. Evidence of crimes other than those authorized in a wiretap wan-ant are

intercepted 'incidentally' when they are the by-product of a bona fide investigation of

crimes specified in a valid warrant."); cf United States v. Gambino, 734 F. Supp. 1084,

1094 n.14 (S.D.N.Y. 1990) (deciding not to reach the question whether the standard is

"inadvertent" or "incidental"). In In re Grand Jury Subpoena, the government expected

to, and did, intercept conversations relating to the "theft of federal, state and local taxes,"

although wiretapping was only authorized in connection with the state law crime of grand

larceny for the theft of state taxes. 889 F.2d at 388. Notwithstanding those expectations,

and notwithstanding that Section 2516 excludes federal tax crimes, the Second Circuit




                                              11
       Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 12 of 68




held that the federal crime evidence was intercepted incidentally because it was a by-

product of the government's bona fide investigation of state law crimes. Id. Here, too,

the interception of evidence of securities fraud was a by-product of the interception of

evidence of wire fraud.

         According to the defendants, allowing the government to use wiretapping in any

insider trading case would subvert the intention of Congress, which has yet to add

securities fraud to the list ofpredicate offenses in Section 2516. (See Rajaratnam Br. at

60.) But this Court does not hold that insider trading is always good grounds for a

wiretap. It holds only that, when the government investigates insider trading for the bona

fide purpose of prosecuting wire fraud, it can thereby collect evidence of securities fraud,

despite the fact that securities fraud is not itself a Title III predicate offense. The

government must still show, as six judges found that it did in this case, that it is

investigating wire fraud in good faith. Defendants would have this Court bar the

government from using wiretaps for wire fraud investigations whenever the fraud

concerns securities. That is a carve-out Congress has not made and this Court is not

permitted to make in its stead. 8


  Defendants deny that they are asking for an absolute bar. (July 27,2010 Hr'g Tr.
("Tr.") at 48.) They say the government may still use a wiretap where it demonstrates a
need to do so that is particularized to wire fraud, rather than to insider trading. This
makes little sense. To be sure, the government does have an obligation to show why a
wiretap is necessary in a particular investigation. But in a wire fraud investigation where
the underlying fraud is insider trading, the government's showing of necessity will
always be linked to insider trading. (It will be required to show why alternative
investigative techniques would not suffice to ferret out the fraud in that case.) In practice
the defendants' logic would limit the use of wiretaps to only those kinds of wire fraud,
like bank or computer fraud, where the underlying fraud is itself specified in Section
2516. That is not what the statute says.

8   It is true that, since adding wire fraud to Section 2516, Congress has added other kinds
of fraud to the statute-access device fraud in 1986, bank fraud in 1990, aircraft parts

                                               12
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 13 of 68




       Assuming that the government's wiretap applications established both probable

cause and necessity--issues that the Court is about to address-the wiretap applications

here were approved in accordance with Title III. Therefore, under Section 2517(5), the

government can introduce evidence of insider trading it discovered on the wiretaps as

long as the government applied to do so "as soon as practicable." 18 U.S.c. § 2517(5).




                                                             Accordingly, the government

can introduce wiretap evidence under Section 2517(5).




fraud in 2000, computer fraud in 200 I-without adding securities fraud. (See
Rajaratnam Reply Br. at 37.) Congress inserted offenses like bank and computer fraud to
Title III because it wanted to permit wiretapping to investigate those crimes even where
they do not involve the use of a wire. As the government observed at oral argument,
"(n]ot every bank ... or computer fraud may involve wires. There are cases that don't."
(Tr. 56.) Securities fraud may be committed without a wire, too, and in such cases, Title
III precludes wiretapping. But that does not mean it precludes wiretapping in insider
trading cases where a wire is involved.

9 The government may have had authorization well before that time. The Second Circuit
has long held that "authorization under 18 U.S.C. § 2517(5) may be inferred when a
judicial officer grants a continuation of the surveillance, even though the offense was not
listed in the original order, so long as he was made aware of 'material facts constituting
or clearly relating to [the] other offenses' in the application for the continuance." United
States v. Ardito, 782 F.2d 358,362 (2d Cir. 1986) (quoting United States v. Masciarelli,
558 F.2d 1064, 1067-1068 (2d Cir. 1977)). The government's applications to renew the
Rajaratnam and Chiesi wiretaps clearly provided the issuing judges with notice that
another offense, securities fraud, was implicated by the intercepts. Because courts
"presume ... that in renewing the tap the judge carefully scrutinized those supporting
papers and determined that the statute's requirements had been satisfied," United States v.
Marion, 535 F.2d 697, 703 (2d Cir. 1976), the renewal orders sufficed to provide Section
2517(5) approval. See United States v. Tortorello, 480 F.2d 764, 783 (2d Cir. 1973),
cert. denied, 414 U.S. 866 (1974) ("It is enough [for Section 2517(5)] that notification of
the interception of evidence not authorized by the original order be clearly provided in
the renewal and amendment application papers.").


                                             13
      Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 14 of 68




II.    Probable Cause

       A.      Standard

       Title III requires that law enforcement provide the authorizing court with a "full

and complete statement of the facts and circumstances relied upon by the applicant" to

establish probable cause that the target phone was and would continue to be used to

commit the specified offense of wire fraud. 18 U.S.c. § 2518(1)(b). "The standard for

probable cause applicable to § 2518 is 'the same as the standard for a regular search

warrant.'" United States v. Diaz, 176 F.3d 52, 110 (2d Cir. 1999) (quoting United States

v. Fury, 554 F.2d 522,530 (2d Cir. 1977)).

       "[P]robable cause is a fluid concept-turning on the assessment of probabilities in

particular factual contexts-not readily, or even usefully, reduced to a neat set of legal

rules." Illinois v. Gates, 462 U.S. 213, 232 (1983). "While probable cause requires more

than a 'mere suspicion' of wrongdoing, its focus is on 'probabilities,' not 'hard

certainties. ", Walczyk v. Rio, 496 F.3d 139, 156 (2d Cir. 2007) (quoting Gates, 462 U.S.

at 231) (internal citation omitted). "[P]robable cause does not demand any showing that

a good-faith belief be 'correct or more likely true than false.' It requires only such facts

as make wrongdoing or the discovery of evidence thereof probable." Walczyk, 496 F.3d

at 157 (quoting Texas v.   Brm~'Tl,   460 U.S. 730,742 (1983)) (internal citation omitted). "In

detennining whether probable cause for an eavesdropping warrant exists, the issuing

officer need only make a practical, common sense decision whether, given the 'totality of

the circumstances' set forth in the affidavit requesting such warrant, including the

veracity and basis of knowledge of persons supplying hearsay infonnation, there is a fair

probability that evidence of a crime will be obtained through the use of electronic




                                                 14
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 15 of 68




surveillance." United States v. Funderbunk, 492 F. Supp. 2d 223, 237 (W.D.N.Y. 2007)

(quoting Gates, 462 U.S. at 238); see also Diaz, 176 F.3d at 110. Allegations in an

affidavit "should be read in their entirety and in a common-sense manner with each fact

gaining color from the others," rather than "in isolation" from one another. Gotti, 42 F.

Supp. 2d at 262.

       "[A] reviewing court must accord considerable deference to the probable cause

detern1ination of the issuing [judge]." Walczyk, 496 F.3d at 157; see United States v.

Concepcion, 579 F.3d 214,217 (2d Cir. 2009) ("[W]e grant considerable deference to the

district court's decision whether to allow a wiretap ...."); United States v. Miller, 116

F.3d 641, 663 (2d Cir. 1997) ("In reviewing a ruling on a motion to suppress wiretap

evidence, we accord deference to the district court ...."); United States v. Torres, 901

F.2d 205, 231 (2d Cir. 1990), cert. denied, 498 U.S. 906 (1990) ("The role of an appeals

court in reviewing the issuance of a wiretap order ... is not to make a de novo

determination of sufficiency as if it were a district judge, but to decide if the facts set

forth in the application were minimally adequate to support the determination that was

made."). The reviewing court's task is "limited to determining whether that judicial

officer had a 'substantial basis' for her determination." Gotti,42       Supp. 2d at 262

(quoting Gates, 462 U.S. at 239). Nevertheless, little or no deference is due where the

government's affidavit misstated or omitted material information about probable cause.

See United States   v.   Canfield, 212 F.3d 713,717 (2d Cir. 2000) ("In this situation, the

issuing judge's probable cause determination is not due any deference because he did not

have an opportunity to assess the affidavit without the inaccuracies.").




                                                15
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 16 of 68




       Where a defendant makes a preliminary showing that the govemment's affidavit

misstated or omitted material infom1ation, Franks instructs a district court to hold a

hearing to determine if the misstatements or omissions were made intentionally or with

reckless disregard, and if so, determine de novo whether, "after setting aside the

falsehoods, what remains of the warrant affidavit is insufficient to support a finding of

probable cause." United States v. Coreas, 419 F.3d 151, 155 (2d Cir. 2005).10

"Omissions from an affidavit that are claimed to be material are govemed by the same

rules." United States v. Ferguson, 758 F.2d 843, 848 (2d Cir. 1985). But "[i]f an

affidavit can be challenged because of material omissions, the literal Franks approach no

longer seems adequate because, by their nature, omissions cannot be deleted." United

States v. Ippolito, 774 F.2d 1482, 1486 n.1 (9thCir. 1985). "The ultimate inquiry is

whether, after putting aside erroneous information and [correcting] material omissions,

there remains a residue of independent and lawful information sufficient to support

probable cause." Canfield, 212 F.3d at 718 (intemal quotation marks omitted).

       B.      Rajaratnam's Claims

       Rajaratnam contends that the govemment's application and supporting affidavit

dated March 7, 2008,11 (1) made false allegations regarding Roomy Khan's reliability and


10 The government argues that, "to the extent [the defendants'] challenges ... don't
involve alleged omissions and inaccuracies, the judicial determination warrants
considerable deference." (Tr. at 58.) But it is hard to imagine how exactly this would
work in practice. Reading the March 7, 2008 Kang Affidavit as a whole, Judge Lynch
found probable cause. But how did he reach that conclusion? By relying exclusively on
Khan's allegations? By deciding that the Goel tips added something to the case for
probable cause? Short of asking Judge Lynch himself, it is not possible to know. Put
simply, there are no determinate findings (besides the finding of probable cause itself) for
this Court to defer to.

IIThis is the crucial affidavit; if its deficiencies justify suppression, they justify
suppression of all the wiretap intercepts, even those obtained on the strength of


                                               16
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 17 of 68




(2) mischaracterized other evidence referenced in the affidavits. As noted, he sought a

Franks hearing to probe this issue. 12 The Court denied defendant's request for a hearing

on the issue of probable cause in summary form in its order of August 15, 2010. The

Court now sets forth its reasoning.

       1.      Legal Stalldard

       Under Franks, a defendant may obtain an evidentiary hearing where (1) "the

defendant makes a substantial preliminary showing that a false statement knowingly and

intentionally, or with reckless disregard for the truth, was included by the affiant in the

warrant affidavit," and (2) "the allegedly false statement is necessary to the finding of

probable cause." 438 U.S. at 155-56. To have misled knowingly or recklessly, the

government must have done more than make an intentional decision not to include the

information. Instead, the misleading statement or omission must have been "designed to

mislead" or "made in reckless disregard of whether [it] would mislead." United States v.


subsequent applications. See United States v. Giordano, 416 U.S. 505, 531-533 (1974)
(Because "communications intercepted pursuant to the extension order were evidence
derived from the communications invalidly intercepted pursuant to the initial order," they
are "derivative evidence and must be suppressed."). The converse is also true: if the
March 7, 2008 affidavit adequately supported Judge Lynch's decision to authorize a 30­
day wiretap, any deficiencies in subsequent wiretap applications are of no consequence.
The first 30 days of wiretapping Rajaratnam yielded enough evidence of criminal conduct
to justify renewals of the wiretap.

12 Rajaratnam's brief implies that even if a Franks hearing is not warranted, the Court
should nevertheless suppress the wiretap intercepts under Section 2518(l0)(a)(i) because
the government failed to supply a "full and complete statement" explaining the basis for
probable cause and the reasons why alternative investigative techniques would not be
feasible. (See Rajaratnam Br. at 56; see also Tr. at 17 ("The full and complete statement
standard in Title III is actually distinct from the constitutional standard in Franks."); Tr.
116-17.) But that argument, for which the brief cites no authority, is inconsistent with
the law of this circuit. See United States v. Bianco, 998 F.2d 1112, 1125-26 (2d Cir.
1993) (holding that the Franks standard governs the determination whether suppression is
appropriate under Section 2518(10)(a)).



                                              17
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 18 of 68




Awadallah, 349 F.3d 42,68 (2d Cir. 2003) (quoting United States v. Colkley, 899 F.2d

297,300-01 (4th Cir. 1990) (formatting nonnalized)).

       The meaning of recklessness is not "self-evident." United States v. A1andell, 710

F. Supp. 2d 368, 373 (S.D.N.Y. 2010). The Supreme Court in Franks did not define the

term "reckless disregard" other than to state that "[a]llegations of negligence or innocent

mistake are insufficient." Franks, 430 U.S. at 171. Nor has the Second Circuit

conclusively defined "reckless disregard." United States v. Perez, 247 F. Supp. 2d 459,

473 (S.D.N.Y. 2003). Nevertheless, "most circuits that have considered the question

have embraced a subjective test for recklessness." United States v. Vi/or,   ~o.   05-CR­

621,2007 WL 1075041, at *26 (S.D.N.Y. Apr. 4, 2007) (Karas, J.).

       Under that test, as one court in this Circuit has phrased it, "the question is not

what a reasonably prudent person would have appreciated given the attendant

circumstances but rather whether the defendant in fact entertained serious doubts as to the

truth of the subject statements." United States v. Kunen, 323      Supp. 2d 390, 395

(B.D.XY. 2004) (internal quotation marks omitted); see also Vi/ar, 2007 WL 1075041, at

*26 ("[O]ne 'recklessly disregards' the truth when one makes allegations while

entertaining serious doubts about the accuracy of those allegations."). Indeed, numerous

lower courts in this Circuit have employed the "serious doubts" language. See Mandell,

710 F. Supp. 2d at 373; ViZor, 2007 WL 1075041, at *26; United States v. Harper, No.

05-CR-6068, 2006 WL 2873662, at *8 (W.D.N.Y. Oct. 6, 2006); United States v.

Goldenberg, No. 05-CR-I034, 2006 WL 266564, at *4 (S.D.XY. Feb. 3,2006); Perez,

247 F. Supp. 2d at 473,479; United States v. Markey, 131 F. Supp. 2d 316,324 (D.

Conn. 2001); Kunen, 323 F. Supp. 2d at 395. Other Courts of Appeals have used the




                                             18
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 19 of 68




same language. See United States v. Butler, 594 F.3d 955, 961 (8th Cir. 2010); United

States v. Lowe, 516 F.3d 580, 584 (7th Cir. 2008); Miller v. Prince George 's      Coun~v,


Md.., 475 F.3d 621,627 (4th Cir. 2007); United States v. Ranney, 298 F.3d 74, 78 (1st

Cir. 2002); Wilson v. Russo, 212 F.3d 781, 788 (3d Cir. 2000); Hart v. O'Brien, 127 F.3d

424,449 (5th Cir. 1997), abrogated in part on other grounds by Kalina v. Fletcher, 522

U.S. 118 (1997); Beardv. Cityo.fNorthglenn, Colo.,24F.3d 110, 116 (lOthCir. 1994).

       While the test for recklessness may be subjective, it is not wholly so and there are

objective aspects to its application. Thus, "[t]here is a corollary to the 'serious doubt'

standard: 'Because states of mind must be proved circumstantially, a fact finder may infer

reckless disregard from circumstances evincing 'obvious reasons to doubt the veracity of

the allegations.' "Perez, 247 F. Supp. 2d at 473 (quoting United States v. Whitley, 249

F.3d 614,621 (7th Cir. 2001»); see also United States v. Schmitz, 181 F.3d 981, 986-87

(8th Cir. 1999); Ranney, 298 F.3d at 78; Beard, 24 at 116; VilaI', 2007 WL 1075041, at

*27; Markey, 131 F. Supp. 2d at 324. Hence, as to any misstatements in the May 7, 2008

affidavit, Rajaratnam must prove either that "(1) the drafters of the affidavit made [a false

statement] with knowledge that the statement was false, (2) they had a serious doubt as to

the truth of the statement when they made it, or (3) they had obvious reason to doubt the

veracity of the statement." Perez, 247 F. Supp. 2d at 474 (emphasis added).

        As might be expected, the guideposts for determining recklessness are different

when evaluating the alleged omission of material information. It makes little sense after

all to speak of whether the affiant has 'serious doubt' about the veracity of statements not

made. Rather the inquiry, at least in this circuit, is whether the "omitted information was

clearly critical to assessing the legality ofthe search." United States v.   Reil~v,   76 F.3d




                                              19
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 20 of 68




1271,1280 (2d Cir. 1996) (intemal quotation marks omitted). Accordingly, with respect

to material omissions from the :March 7, 2008 affidavit, Rajaratnarn must prove that the

drafters of the affidavit either intentionally omitted the infonnation or that the omitted

infonnation was clearly critical to the affidavit, thereby raising an inference of

recklessness.] 3

        2.         Knowingly or Recklessly False Statements aJld OmissioJls

        In support of probable cause, the March 7, 2008 Kang Affidavit offered several

pieces of evidence: (1) statements made by Roomy Khan, a cooperating witness, about

exchanging inside information with Rajaratnam; (2) statements Rajaratnam made to Khan

in telephone conversations she recorded at the FBI's request; and (3)




J3 There is some disagreement among the Courts of Appeals, and within this Court, as to
whether recklessness can be established where a reasonable affiant would know that
omitted information would be important to the reviewing court. That divide stems from
the Third Circuit's statement that "omissions are made with reckless disregard if an
officer withholds facts in his ken that '[a]ny reasonable person would know was the kind
of thing the judge would wish to know.'" Wilson, 212 F.3d at 788 (quoting United States
v. Jacobs, 986 F.2d 1231, 1235 (8th Cir. 1993». Two decisions have cited this statement
in holding that the standard for omissions is whether "any reasonable person would have
known that this was the kind of information that the magistrate judge would have wanted
to know." Perez, 247 F. Supp. 2d at 474 (Chin, J.); United Stales v. Harding, 273 F.
Supp. 2d 411,426 (S.D.N.Y. 2003) (Kaplan, J.) ("[T]he preliminary issue to be resolved
is whether Harding has shown that Agent Castro knew or had reason to know the 'facts'
he omitted from the search warrant affidavit. If these facts indeed were 'in his ken,' the
following question is whether they were the sort of facts a reasonable person would know
ajudge would want to know."). On the other hand, in Judge Karas's view, "a test that
invokes the mythical 'reasonable person' speaks the language of negligence" which is
insufficient for suppression under Franks. Vilar, 2007 WL 1075041, at *27. This Court
agrees. Unlike negligence, reckless disregard connotes "[c]onscious indifference to the
consequences of an act." Black's Law Dict. (9 th ed.). The "serious doubt" standard for
misstatements reflects that awareness, as does the corollary that with regard to omissions,
recklessness "may be inferred when omitted information was clearly critical to assessing
the legality of the search". United States v. Reilly, 76 F.3d 1271, 1280 (2d Cir. 1996)
(intemal quotation marks omitted).




                                              20
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 21 of 68




       Describing the "Background ofthe Investigation," the affidavit said that,

H[b]eginning in or about November 2007 [Agent Kang) and other FBI agents have had

numerous discussions with a cooperating source ('CS-l ')" we now know to be Khan.

(Gov't Opp'n to Rajaratnam Ex. l-C at 12.) According to Agent Kang, Khan "ha[d] been

cooperating with the FBI since approximately November 2007." (Jd. at 13 n. 4.) Kang

further stated that "since at least in or about 2005, [Khan] participated in an insider

trading scheme;" that Khan "received the material, nonpublic information from a variety

of sources, ... including RAJARATNAM"; and that Khan "has not yet been charged

with any crimes." (Jd. at 13.) The affidavit notes that Khan has known Rajaratnam

"since in or about the mid-1990s, when [s]he was working at Intel Corp," and that she

subsequently "worked for Galleon from approximately mid-1998 through 1999." (Jd. at

13 n.S.) It goes on to say that the two exchanged inside information beginning "in or

about mid-200S" and continuing till "late 2007." (Jd. at 13-14.)

       This is what the affidavit left out: The FBI and U.S. Attorney's Office for the

Northern District of California began investigating Khan in 1998 when she was working

at Intel, in connection with allegations that she was sending inside information about her

company to Rajaratnam's firm. (Rajaratnam Bf. Ex. A.S at 2-3.) In 2001 Khan was

indicted and later that year pleaded guilty to felony wire fraud and was sentenced to
             14
probation.        (Rajaratnam Br.   A.3, AA 'I~ 1-2; Ex. A.6 at 2, 4.) At Khan's sentencing



\4Khan's 2001 criminal case, No. 01-20029 (N.D. Cal.), remained under seal in the
Northern District of California, for reasons not explained, until late 2009. On October
16, 2009, the government unsealed the criminal complaint against Rajaratnam in this


                                             21
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 22 of 68




in 2002, the government emphasized that Khan was cooperating with the government,

that it had attempted to establish insider trading by Rajaratnam without success, and that

its investigation was "continuing." (Rajaratnam Br. Ex. A.5 at 3, 7-8.)

       The government thinks that none of this makes the Kang affidavit false. It says

that Kang did not mean to imply that the investigation in this district, which began in

2007, was the 'only' time Khan and Rajaratnam were ever investigated for insider

trading. And, according to the government, when Kang said that Khan had not yet been

charged, he only meant that she had not been charged in connection with this

investigation. The way the government parses Kang's grammar may be literally right.

But the statements were nonetheless misleading, particularly when read with the literally

false statement that Khan had been cooperating with the FBI only since November 2007.

And Judge Lynch was invited to conclude that, so far as the government knew, Khan had

a clean record when in fact she had previously been charged and convicted of very

similar conduct, raising obvious questions as to her credibility.

       The government cannot write these omissions off on the theory that Khan's

criminal record was not important enough to include in the affidavit. 15 If that were true,


case, which had identified Khan as "CW." Khan's true identity was reported by the Wall
Street Journal on October 22,2009. Susan Pulliam, Galleon Sinks, Informant Surfaces,
Wall St. .T., Oct. 22, 2009. The same day, the San Jose Mercury News reported that Khan
had pled guilty to wire fraud in 2001 "for leaking proprietary information about Intel"
while working there in 1998. Pete Carey, Old Silicon Valley Case Linked to Hedge Fund
Scandal, San Jose Mercury News, Oct. 22, 2009. The San Jose Mercury News and
Rajaratnam subsequently asked the California district court to unseal the entire case, and,
on December 2,2009, that court granted the unopposed motion.

15 Indeed, at oral argument the government acknowledged that "in hindsight there is no
question [the fact of the earlier investigation of Khan and Rajaratnam] should have been
included" (Tr. at 65) and that the government "wish[ es] it would have been included" (Id.
at 66). This is the type of candor that the Court expects from the government and,
frankly, should have been exhibited to Judge Lynch.


                                             22
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 23 of 68




why did the government deem it worthy to report that Khan "[ha[ d] not yet been charged

with any crimes"? (Kang Ex. 1 at 13.) Nor can the government plead ignorance. Agent

Kang's own interview memoranda, produced to the defendants in discovery in this case,

chart the extent of his knowledge: a December 17,2007 memo refers to Khan's "past

criminal record," and a November 28,2007 memo refers to "some problems KHAN had

in the past with the FBI." (See Rajaratnam Br. Ex. A.17 at 2; Ex. A.16 at 2.)16

       Nor does the Kang affidavit's summary of telephone conversations between Khan

and Rajaratnam win high marks for candor. (Gov't Opp'n to Rajaratnam Ex. l-C at 15­

17.) Describing one such conversation, on January 14,2008, Kang's affidavit said that

       [d]uring this call, CS-l asked RAJARATNAM what was "going on with the
       earnings this season," and whether he was "getting anything on Intel."
       RAJARATNAM proceeded to tell CS-l that Intel would be up 9 to 10% and then
       guide down 8% and that margins would be good. RAJARATNAM then asked
       CS-l "What are you hearing anything?" CS-I responded "not really."

(Id. at 15-16.) That paraphrase omitted the fact that Rajaratnam had qualified his

predictions with "I think." It also skipped a piece of the conversation in which

Rajaratnam said that he thought margins the next quarter "will be below," and explained

that he took this view "[b]ecause of [sic] the volumes are down, right?" (Rajaratnam Br.


16 Rajaratnam cites additional omissions that supposedly bore on Khan's credibility, but
these are not obvious examples of recklessness. For example, in interviews with the FBI
Khan denied her involvement in the insider trading scheme before admitting to it. That
fact adds little to an assessment of Khan's credibility. It is hardly surprising, or unusual,
for an accused individual to deny having committed a crime before confessing to it.
Rajaratnam also points to information that came to light after March 2008. In April
2008, Kang learned that, a few months earlier, Khan had deleted an email without telling
the government, "because she was scared," and that she had also secretly registered a cell
phone in her gardener's name, presumably to hide calls from the government. (See
Rajaratnam Br. Ex. 20 at 5;       21 at].) These actions are of relevance to Khan's
credibility, but the government did not discover them until after it had already gotten
wiretap authorization from Judge Lynch in March 2008. (See Tr. 90-91; Gov't Opp'n to
Rajaratnam at 39-41.)



                                             23
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 24 of 68




Ex. D.l at 2-3.) In the government's paraphrased version of the conversation,

Rajaratnam seems certain about the Intel numbers without giving any reason why; in the

transcript, Rajaratnam equivocates ("I think") and explains at least why he thought

margins would decline the following quarter ("volumes were down").

       Kang's affidavit also paraphrased a January 17, 2008 call between Rajaratnam

and Khan:

       During this call, CS-l asked whether RAJARA TNAM had heard anything on
       Xilinx. RAJARATNAM responded that he thought this quarter would be okay,
       but next quarter would not be so good .... RAJA RATNAM then said he expected
       Xilinx to be "below the street." CS-I asked whether he got "it" from someone at
       the company and RAJARATNAM said yes, somebody who knows.

(ld. at 16-17.) This paraphrase also subtly changed Rajaratnam's answer. In the audio

recording, Khan asks whether Rajaratnam "got it from somebody at the company or-."

Raj aratnam appears to answer, "Yeah I mean, somebody who knows his stuff."

(Rajaratnam Br.      D.2 at 4.)17 That response is more equivocal than the government's

paraphrase (a simple "yes, somebody who knows") lets on. 18 Such subtle shifts of



17 The government now claims "it is not at all clear from the recording" that this is what
Rajaratnam said. (See Gov't Opp'n to Rajaratnam at 45.) But, having listened to the
recording for itself, the Court believes the transcript is accurate. In any event, if the
government truly believed that the recording was ambiguous, it should have said so to
Judge Lynch, not quoted the most inculpatory version of Raj aratnam's words.

18 Other misstatements about the content of Khan's recordings appear to be instances of
simple carelessness on the government's part. Kang's affidavit claimed that, when
Rajaratnam asked Khan what she was hearing on Google, she "did not respond." (Gov't
Opp'n to Rajaratnam Ex. l-C at 16.) Actually, Khan did respond. She said, "The
market's been so shitty that I haven't been, it's only now that I've started to do the
work." (Rajaratnam Br. Ex. 0.1 at 6.) This was not an omission designed to mislead.
Indeed, had the government reproduced more of the conversation on Google, more
evidence of probable cause might have emerged. When Rajaratnam again asked about
Google, Khan said she had no infonnation, and explained, "I told you that lady won't
speak to me." Rajaratnam's response: "Idiot." (See Rajaratnam Br. Ex. D.I at 7.) "That
lady" turns out to have been an investor relations person at Google. The most plausible

                                            24
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 25 of 68




meaning are not as compelling as direct misstatements and omissions, however, they

evince a lack of frankness that should be found in all ex parte applications.


       3.      l1-1ateriality to Judge Lynch's Decision

       The inaccuracies and inadequacies in the Kang affidavit give the Court pause.

Particularly disturbing is the omission of highly-relevant information regarding Khan's

prior criminal record for fraud which is "peculiarly probative of credibility." United

States v. Hayes, 553 F.2d 824, 827 (2d Cir. 1977). Still, a Franks hearing is required

only if the government's misstatements were necessary to Judge Lynch's decision to

authorize the wiretap. That is, after setting aside the government's misstatements and

adding what it omitted from the affidavit, does the Court find that the affidavit set forth

minimally adequate facts to establish probable cause? See Coreas, 419 F.3d at 155.

       Rajaratnam contends that, with "Khan's lack of credibility and reliability

accurately disclosed," her "general allegations" should be "discarded." (Rajaratnam Br.

at 55.) This would go too far. True, "a criminal informer is less reliable than an innocent

bystander with no apparent motive to falsify." United States v. Gagnon, 373 F.3d 230,

236 (2d Cir. 2004) (intemal quotation marks omitted). But even a criminal informer can

provide evidence of probable cause, particularly when other indicia of the evidence's


explanation for Rajaratnam's exclamation is that the Google employee refused to provide
inside information about her company.

Kang's affidavit also said that Rajaratnam predicted Intel's revenues accurately ("up 9 to
10%). (Gov't Opp'n to Rajaratnam Ex. l-C at n.8.) The affidavit mistakenly calculated
the percentage jump in earnings by comparing earnings in fourth quarter 2007 to fourth
quarter 2006, which yielded a percentage increase of 10.5%. What Rajaratnam was
actually predicting was the percentage increase in Intel's earnings for the fourth quarter
of2007 as compared to the third quarter of that year (an increase of only six percent).
(See Rajaratnam Br. at 29-30.)



                                             25
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 26 of 68




reliability exist. See United States v. Fermin, 32 F.3d 674, 676-77 (2d Cir. 1994),

overruled on other grounds by Bailey v. United States, 516 U.S. 137 (1995) (excusing the

government's failure to accurately report a confidential informant's "criminal history and

time as an informant" because the issuing judge would not "have completely discounted

the evidence presented through" the informant, given the informant's "past reliability"

and "corroborating evidence in the affidavit"); United States v. Levasseur, 816 F.2d 37,

43-44 (2d Cir. 1987) (holding that the government's failure to outline an informant's

"full history of pre- and post-cooperation criminal activity, drug and alcohol abuse, and

psychiatric problems" did not require a Franks hearing, because other "independent and

lawful information" sufficed to establish probable cause).19

       Here, there were such indicia. For one thing, Khan was a known informant, not

an anonymous tipper. That strengthens the case for believing her. See Caldarola v.

Calabrese, 298 F.3d 156, 163 (2d Cir. 2002) (quoting Florida v. JL., 529 U.S. 266, 270

(2000)) ("[A]n anonymous tip is '[u]nlike a tip from a known infonnant whose reputation

can be assessed and who can be held responsible ifher allegations turn out to be

fabricated. "'). And, in implicating Rajaratnam in crimes of insider trading, Khan made

statements against her own penal interest. "Admissions of crime ... carry their own

indicia of credibility-sufficient at least to support a finding of probable cause to search.

That the informant may be paid or promised a 'break' does not eliminate the residual risk


19Rajaratnam's reply brief points out that none of the cases the government cites­
Fermin, Canfield, and Levasseur, all cases in which the Second Circuit excused the
government's failure to disclose an informant's prior criminal conviction~involved a
prior conviction for fraud. (Rajaratnam Reply Br. at 7 (citing United States v. Hayes, 553
F.2d 824, 827 (2d Cir. 1977), for the proposition that a prior fraud conviction is
"peculiarly probative of credibility").) That is true, but it does not mean that Khan's
credibility stood at zero.



                                             26
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 27 of 68




and opprobrium of having admitted criminal conduct." United States v. Harris, 403 U.S.

573,583-84 (1971) (plurality opinion).20 Khan admitted, among other things, that she

had provided Rajaratnam with inside information about Google. That statement exposed

her to greater criminal penalties-by the government's calculation, the profits from

trading on this information exceeded $6 million. (See Gov't Opp'n to Rajaratnam Ex. 1­

C, '118 n.9.)

       In addition to all this, the government was able to corroborate some of Khan's

statements. See Canfield, 212 F.3d at 719-20 (quoting United States v. Wagner, 989 F.2d

69, 73 (2d Cir. 1993) ("[I]fan informant's declaration is corroborated in material

respects, the entire account may be credited, including parts without corroboration.").

Khan told the FBI that Rajaratnam had previously provided her with earnings information

on Broadcom; in a call she recorded at the FBI's request, Rajaratnam told her he knew

someone "very good" at Broadcom who could give him "the numbers" (Gov't Opp'n to

Rajaratnam Ex. l-C at 17). Similarly, Rajaratnam's statement on a recorded call that he

needed to call "a couple guys" at Xilinx to get information from them squares with

Khan's statement to the FBI that Rajaratnam had previously bragged about receiving

inside information on Xilinx. (ld. at 16.) Trading records also provide limited

corroboration of certain of Khan's statements. For example, Khan claimed to have

provided Rajaratnam with inside information about Polycom in January 2006 and Google

20 To be sure, even admissions against penal interest are "suspect insofar as they
inculpate other persons." Lil(y v. Virginia, 527 U.S. 116, 138-39 (1999); see United
States v. Bakhtiar, 994 F.2d 970, 978 (2d Cir. 1993) (statements "made in an attempt to
minimize [one's] own culpability, to shift blame to [another], or to curry favor with
authorities ... do not bear the same indicia of reliability as the usual statement exposing a
declarant to unpleasant consequences, such as criminal liability"). But that does not
mean such admissions are no evidence of veracity-especially where, as here, the
admissions are not made in an attempt to reduce the individual's share of the blame.



                                             27
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 28 of 68




in the summer of2007; trading records show that Rajaratnam's funds executed profitable

trades in those two securities during the relevant time periods. (See Gov't Opp'n to

Rajaratnam Ex. I-C n.6, n.9.) Finally, toll records indicate that Rajaratnam repeatedly

talked to an Intel insider, Rajiv Goel, in the mn-up to earnings announcements in March

2006, April 2007, and Febmary 200S. (See id. at 3S.)

       Given the evidence of corroboration, Khan's allegations of Rajaratnam's criminal

conduct provide at least some support for probable cause. But there is more.

Rajaratnam's recorded telephone conversations with Khan independently show that he

intended to get information about stocks from company insiders. In advance of Xilinx' s

earnings announcement for the fourth quarter of2007, Rajaratnam said he thought that

"Xilinx this quarter" had "turned out well"; when Khan asked "what do you think they'll

do," Rajaratnam said that he needed to "call a couple of guys there at Xilinx."

(Rajaratnam Br. Ex. D.l at 4.) In a conversation with Khan about Broadcom, Rajaratnam

told Kang that that "he knew somebody very good there who could give him the numbers

but that he had to check." (Id. Ex. D.2 at 6.) The specificity ofRajaratnam's comment

about Broadcom-he would get "the numbers"               especially telling. Rajaratnam's

alternate explanation for these remarks-that he meant he had to check with company

insiders about publicly available   information~-is   hardly more plausible than the

government's explanation. That Rajaratnam has an innocent explanation at all,

moreover, does not make the remarks irrelevant to probable cause. See Gagnon, 373

F.3d at 236 ("[PJrobable cause does not demand the certainty we associate with formal

trials," and "the fact that an innocent explanation may be consistent with the facts as




                                              28
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 29 of 68




alleged ... does not negate probable cause,"). Here, Rajaratnam's answers created at

least a fair probability that insider trading was afoot.

       The March 7, 2008 Kang Affidavit also contained summaries of and quotations

from intercepts of



•    These intercepts appear to indicate that                      knowingly obtained

inside infom1ation and passed it on to others, including Rajaratnam.




_       Perhaps Rajaratnam accepted the tips innocently, without knowing they were

non-public. But

                           there is at least a fair inference that Rajaratnam, a sophisticated

investor, knew that.




                                               29
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 30 of 68




       This evidence, taken alone, is far from conclusive of Rajaratnam's culpability.

But to suffice for probable cause, it need not have been. See United States v. Martin, 426

F.3d 68, 76 (2d Cir. 2005) (calling it a "defect" to "conflate[] evidence of probable cause

to sustain a warrant with proof of a prima facie case," because "probable cause does not

require a prima facie showing" of the crime); United States v. Bellomo, 954 F. Supp. 630,

638 (S.D.N.Y. 1997) (Kaplan, J.) ("While the intercepted conversations, considered

separately, may not be dispositive of guilt on the particular issues, that is not the relevant

standard."). Adding it all up, and correcting the affidavit to account for the government's

misstatements and omissions, the Court believes that there were enough facts for Judge

Lynch to have found probable cause.


       C.      Chiesi' s Claims

       The case for probable cause against Chiesi relied exclusively on communications

intercepted pursuant to the Rajaratnam wiretap. Accordingly, were the Rajaratnam

wiretap evidence suppressed, suppression of the Chiesi wiretaps would likewise be

warranted. See Giordano, 416 U.S. at 533 (suppressing "derivative evidence" of a

suppressed wiretap). The government has acknowledged as much. (See Tr. at 142

("[T]he government concedes that if the Rajaratnam wiretap falls, then the Chiesi one

does also on probable cause.").) But that argument is moot in light of the Court's

decision to deny Rajaratnam's motion for suppression.




                                              30
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 31 of 68




       Chiesi argues separately that, even if the Rajaratnam wiretap intercepts survive

suppression, they do not establish probable cause of her participation in an insider trading

conspiracy. Because Chiesi does not suggest that the government misstated facts in its

application for authorization to wiretap Chiesi' s phones, the usuaJ standard of "deference

to the probable cause determination of the issuing [judge]" applies.   Walcz~vk,   496 F.3d at

157. So long as the "facts set forth in the application were minimally adequate to support

the detennination that was made," Concepcion, 579 F.3d at 217, suppression is not

warranted. See also Awadallah, 349 F.3d at 64 ("Ordinarily, a search or seizure pursuant

to a warrant is presumed valid.").



                  The application contained ample support for Judge Sullivan's order

authorizing the wiretaps.




       Consider the following evidence:




                                             31




                    Li
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 32 of 68




       Other calls provided additional support for probable cause.




_         Regardless of whether these facts establish Chiesi's culpability, they are

certainly minimally adequate to support Judge Sullivan's finding of probable cause.




                                            32
       Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 33 of 68




III.     Necessity

         Both defendants argue that the government's wiretap applications failed to

provide "a full and complete statement as to whether or not other investigative

procedures have been tried and failed or why they reasonably appear to be unlikely to

succeed if tried or to be too dangerous," 18 U.S.C. § 2518(1)(c), as Title III requires.

Congress required that showing to ensure that "wiretapping is not resorted to in situations

where traditional investigative techniques would suffice to expose the crime." United

States v. Kahn, 415 U.S. 143, 153 n.12 (1974). What Title III "envisions is that the

showing [of the wiretap's necessity] be tested in a practical and commonsense fashion."

Concepcion, 579 F.3d at 219 (quoting S. Rep. No. 90-1097, at 12).

         Like a court reviewing an affidavit containing misstatements or omissions as to

probable cause, a court reviewing an affidavit for necessity must "decide if the facts set

forth in the application were minimally adequate to support the determination that was

made." Torres, 910 F.2d at 231. In that determination, "generalized and conclusory

statements that other investigative procedures would prove unsuccessful" do not suffice.

United States v. Lilla, 699 F.2d 99,104 (2d Cir. 1983). At the same time, however, Title

III "only requires that the agents inform the authorizing judicial officer of the nature and

progress of the investigation and of the difficulties inherent in the use of normal law

enforcement methods." Concepcion, 579 F.3d at 218; see also United States v. Scala,

388 F. Supp. 2d 396, 404 (S.D.N.Y. 2005) ("[A] reasoned explanation, grounded in the

facts of the case, and which squares with common sense, is all that is required ....")




                                             33
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 34 of 68



(internal quotation marks omitted).21 The government is not "required to exhaust all

conceivable investigative techniques before resorting to electronic surveillance."

Concepcion, 579 F.3d at 218; see also Fury, 554 F.2d at 530 ("At the outset we note that

the purpose of these 'other investigative techniques' requirements is not to foreclose

electronic surveillance until every other imaginable method of investigation has been

unsuccessfully attempted, but simply to inform the issuing judge of the difficulties

involved in the use of conventional techniques.") (internal quotation marks omitted).

"Rather, the applicant must state and the court must find that normal investigative

procedures have been tried and failed or reasonably appear to be unlikely to succeed if

tried ...." Giordano, 416 U.S. at 515. Put another way, "an affidavit offered in support of




21 In her briefs and at oral argument through counsel, Chiesi claims that the standard is
exhaustion of ordinary investigative techniques. (See Chiesi Br. at 13; Chiesi Reply Br.
at 6-7; Tr. at 137-139.) Chiesi quotes language from an opinion of the Tenth Circuit that
phrases the requirement in terms of exhaustion. See United States v. Castillo-Garcia, 117
F.3d 1179, 1188 (10th Cir. 1997), overruled on other grounds by United States v.
Ramirez-Encarnacion, 291 F.3d 1210 (10th Cir. 2002) ("[W]e require the government to
prove exhaustion-either by attempt or explanation of why the method would not work­
of all 'reasonable' investigatory methods.") (emphasis added). However, even that
statement refers to exhaustion "either by attempt or explanation", and the Tenth Circuit
has elsewhere described its decisions in this area as "repeatedly h[ 0 ]ld[ing] that law
enforcement officials are not required 'to exhaust all other conceivable investigative
procedures before resorting to wiretapping.'" United States v. Edwards, 69 F.3d 419, 429
(10th Cir. 1995) (quoting United States v. Apodaca, 820 F.2d 348, 350 (lOth Cir.), cert.
denied, 484 U.S. 903 (1987». That is the law in this Circuit. See United States v. Torres,
901 F.2d 205, 231 (2d Cir. 1990) (The "purpose of the statutory requirements is not to
preclude resort to electronic surveillance until after all other possible means of
investigation have been exhausted by investigative agents ...."); United States v. Young,
822 F.2d 1234, 1237 (2d Cir. 1987) ("[T]here is no requirement that any particular
investigative procedures be exhausted before a wiretap may be authorized") (internal
quotation marks omitted); see also United States v. Valdez, 90-793 (JFK), 1991 WL
41590, *2 (S.D.N.Y. Mar. 19, 1991), ajJ'd, 952 F.2d 394 (2d Cir. 1991) ("The law is
clear in this circuit that the requirements of section 2518 were not intended to tum
electronic surveillance into a tool oflast resort.").



                                            34
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 35 of 68




a wiretap warrant must provide some basis for concluding that less intrusive investigative

procedures are not feasible." Lilla, 699 F.2d at 103.

         A.     Rajaratnam's Claims

         In his motion, Rajaratnam argued that suppression was warranted because the

March 7, 2008 affidavit failed to disclose, inter alia, (1) the nature and extent of the

lengthy SEC investigation that preceded the wiretap request, and a prior FBI

investigation of Rajaratnam's connection to insider trading; (2) the voluminous evidence

the SEC was able to collect using conventional techniques; and (3) the prosecutor's total

access to and use of that evidence prior to the submission of its wiretap application to

Judge Lynch. (See Rajaratnam Br. at 65-73.) In an opinion issued last month, the Court

found that Rajaratnam had "at least established good grounds for holding a Franks

hearing regarding the veracity of the March 7,2008 affidavit and the issue vel non of

whether the necessity requirement has been satisfied." United States v. Rajaratnam, No.

09-CR-1184, 2010 WL 3219333, at *2 (S.D.N.Y. Aug. 12,2010). A four-day hearing

was held from October 4 through October 7,2010. At that hearing, Rajaratnam presented

four witnesses: Lindi Beaudreault, former counsel to Rajaratnam and Galleon; Andrew

Michaelson, formerly an attorney at the Division of Enforcement at the Securities and

Exchange Commission ("SEC"); Special Agent Kang; and Lauren Goldberg, a former

Assistant United States Attorney who led the investigation by the USAO and drafted the

March 7, 2008 affidavit. The Court's findings based upon the hearing record are set forth

below.




                                              35
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 36 of 68




       1. Misstatements and Omissions

       The Franks hearing established that the criminal authorities in this case made a

glaring omission. They failed to disclose to Judge Lynch that the SEC had for several

years been conducting an extensive investigation into the very same activity the wiretap

was intended to expose using many of the same techniques the affidavit casually affirmed

had been or were unlikely to be successful. A judge hearing an ex parte application relies

entirely on the government's representation that it has disclosed all material facts. But

how could Judge Lynch assess whether conventional investigative techniques had failed

or were likely to fail without even knowing that they were presently being used in an

ongoing SEC investigation upon which the prosecutor and FBI were relying---almost

entirely~to   construct their own case? Of course, there is nothing wrong in their

piggybacking the SEC investigation provided they were not improperly directing it. But

the Court is at a loss to understand how the government could have ever believed that

Judge Lynch could detem1ine whether a wiretap was necessary to this investigation

without knowing about the most important part of that investigation--the millions of

documents, witness interviews, and the actual deposition ofRajaratnam himself, all of

which it was receiving on a real time basis and all of which was being acquired through

the use of conventional investigative techniques. It is all well and good to now argue that

these tools proved inadequate--and the Court ultimately accepts that      contention~but   it

would have been far better for Judge Lynch to have been in a position to make that

decision for himself.

       The USAO and FBI first learned about the on-going investigation in March 2007,

when the SEC referred an investigation of insider trading by Rajaratnam and his brother




                                             36




                                    _ _ _ _ _ _ _ _ _ _ _ _ _iIIJIII!ilI_tf~jr~:,,:',
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 37 of 68




Rengan Rajaratnam, a principal at Sedna Capita] Management, LLC. (Kang Ex. 3;

Franks Tr. at 95.) The SEC had opened its investigation, which was fonnally captioned

an investigation ofSedna, on September 21,2006. (Michaelson Ex. I_A.)22 On March

26,2007, the USAO and FBI requested access to the SEC's investigative file

(Michaelson Ex. 12) and three days later, the GSAO and the FBI held the first of what

would be numerous meetings with the SEC to discuss the course of its investigation. (See

Kang Ex. 3.) Over the next year leading up to the March 7, 2008 wiretap application, the

SEC "ke[pt] the criminal authorities up to speed" (Franks Hr' g Tr. at 132-133) and met

and spoke with them regularly to discuss the investigation. (See id. at 128, 732; Kang

Exs. 3,6,7,10,11,13,14,15,17,18,20,21,23,24,25.) The SEC also provided the

criminal authorities with documents of particular note as well as chronologies outlining

circumstantial cases of insider trading and identifying likely sources of inside infonnation

regarding several different companies. (Kang Exs. 4, 21, 22; Michaelson Exs. 59 84, 94,

95,96,97,98, 100, 101, 106, 120.) Accordingly, the USAO and FBI either knew about

or had access to "the best of what the SEC could produce." (Franks Tr. at 827-28.)

       That was quite a bit to say the least. In early 2007, the SEC Office of Compliance

Inspections and Examinations (OCIE) began an on-site examination of Galleon. (Franks

Tr. at 112, 367; Michaelson Ex. 10.) As part of that investigation, OCIE made nearly two

dozen requests for numerous classes of documents, including trading records, telephone


22Since November 5, 2003 the SEC had also been conducting a technically separate but
somewhat related investigation into insider trading at Galleon. (Beaudreault Ex. 4.) The
SEC had served Galleon with numerous subpoenas and requests for a variety of
documents, including trading and telephone records, and a complete record of Galleon e­
mails and instant messages (IMs) from November 2003 through June 2005. (Beaudreault
Ex. 5; Franks Tr. at 29-35.) Galleon produced documents in response to these requests
and subpoenas, which included the standard Fonn 1662 warning that infonnation
provided to the SEC could be used in a criminal proceeding. (Franks Tr. at 30, 33.)


                                            37
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 38 of 68




records, and a complete record of e-mails and IMs sent and received by Raj aratnam and

others in 2006. (Franks Tr. at 35-36, 112-120.) OCIE also interviewed eighteen

Galleon employees and twice interviewed Rajaratnam himself, once in February and once

in March of2007, regarding insider trading. (See id. at 62-69.)

       As part of the SEC investigation, Rajaratnam was deposed on June 7, 2007. (See

Michaelson Ex. 45.) He was asked numerous questions regarding insider trading at

Galleon, trading in various technology stocks, IMs exchanged with Roomy Khan, and his

connections to executives at several publicly traded companies. Rajaratnam denied that

he ever traded on, had any sources of, or even received any inside information. (Franks

Tr. 347-54; Michaelson Exs. 45 at 77,84,184.) The SEC also deposed five other

individuals associated with Sedna and/or Galleon, none of whom admitted to insider

trading. (Michaelson Exs. 46-50; Franks Tr. 190-93,346-47.)

       Following the Rajaratnam deposition, the SEC served Galleon with additional

subpoenas for various documents, including trading records, investor lists, and

Rajaratnam's contact lists, hard drive, bank records, and calendar. Galleon produced four

million pages of documents in response to the subpoenas, including several hundred

thousand e-mails and almost fifty thousand pages of IMs. (Franks Tr. 38-40.) These

documents suggested that Rajaratnam was exchanging inside information by telephone.

(See Franks Tr. 398-408, 702; Gov't Exs. 17,24,32.) As part of its investigation, the

SEC also served 221 subpoenas on banks, clearing houses, telephone companies, and

issuers of publicly traded securities prior to March 7,2008. (Michaelson Exs. 52-56;

Franks Tr. at 195-97.)




                                            38
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 39 of 68




       The USAO and FBI knew about all of this. They knew about the OCIE

investigation, including that Galleon had produced documents and that the OCIE had

interviewed Galleon employees, including Raj aratnam. (Franks Tr. at 508-12, 731.)

They knew that Rajaratnam had been deposed and they received a transcript of that

deposition as well as of the five others the SEC had taken. (Michaelson Exs. 45, 51, 72;

Franks Tr. at 190-92, 507, 739-41). In fact, they knew in advance that the SEC was

going to depose Rajaratnam and, according to documents introduced at the hearing, met

with the SEC in part to "talk[J strategy" regarding that deposition. (Michaelson Ex. 26­

A; Tr. 139-45; 733-39.) They knew that the SEC had issued over two hundred subpoenas

from Galleon and third parties, that the SEC had received millions of documents in

response, and that they had full access to those documents. (Franks Tr. 729-31.) They

knew from the SEC's chronologies that the SEC was building circumstantial cases of

insider trading and identified several possible sources of inside information, including

Khan and Rajiv Goel. (See, e.g. Michaelson Exs. 93-99; Franks Tr. at 732.) And they

knew from the same chronologies that the SEC had identified twelve individuals as

potential interviewees (Michaelson Ex. 84 at 2; Franks Tr. at 256-58, 703-4) and hoped

to review some additional records. (Michaelson Ex. 120.)

       The USAO and FBI also knew that the SEC investigation was the most important

part of their own. Indeed, Agent Kang testified that the SEC knew more about the

investigation than he did. (Franks Hr'g Tr. at 614.) When asked by the Court to describe

what the federal criminal authorities did other than rely on the SEC, the government

prosecutor testified that the USAO and FBI had largely devoted their time to analyzing

the information they were receiving from the SEC, "assimilating their own analyses of




                                            39
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 40 of 68




what all this information meant ...." (Franks Hr'g Ir. at 828-29.) Though the criminal

authorities "independently obtained some of [their] own records, phone records, trading

records, bank reeords", the prosecutor testified that H[w]hatever [they] obtained through

grand jury subpoenas would supplement what the SEC had provided." (See id. (emphasis

added.)) The criminal authorities did not themselves review the SEC's investigative file

but instead relied on the SEC to provide the most important documents. (Franks Ir. at

124,614,685.) And they decided to approach and interview Roomy Khan (and her

broker) in large part based on information provided by the SEC. (See Franks If. at 813.)

       Ihe USAO and the FBI also knew that all of this evidence was being developed

through conventional investigative techniques. But this was not disclosed to Judge

Lynch. Title III requires "a full and complete statement as to whether or not other

investigative procedures have been tried and failed or why they reasonably appear to be

unlikely to succeed if tried or to be too dangerous." 18 U.S.c. § 2518(1)(c). By failing to

disclose the substance and course of the SEC investigation, the government made what

was nearly a full and complete omission of what investigative procedures in fact had been

tried. That omission deprived Judge Lynch ofthe opportunity to assess what a

conventional investigation of Rajaratnam could achieve by examining what the SEC's

contemporaneous, conventional investigation of the same conduct was, in fact, achieving.

       The government strenuously argues that it did not "hide" the existence of the SEC

investigation from Judge Lynch. But this misses the point. If anything, passing

references to having "reviewed trading records and other information provided by the

SEC" (Kang Ex. 1 at 15) obscures the fact that, on the record before the Court, the

prosecutor's investigation was, in sum and substance, the SEC investigation, and its




                                            40
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 41 of 68




results up until March 2008 were the product of entirely conventional investigative

techniques not disclosed to Judge Lynch. In light of the fact that the Kang Affidavit all

but ignored the SEC investigation-the elephant in the room-the boilerplate

representation that "alternative investigative techniques have been tried or appear

unlikely to succeed if tried" (Kang Ex. 1 at 38) remains just that-boilerplate.

       As might be expected, this broad omission also rendered several specific

statements in the affidavit misleading. For example, the affidavit blandly assures Judge

Lynch that interviewing Rajaratnam and other targets is an "investigative route" that is

"too risky at the present time." (Id. at 44-45.) Yet during that same time period, the

SEC, after asking the criminal authorities if they had any objection (Franks Tr. at 133,

142), had interviewed or deposed under oath over twenty Galleon employees, including

two interviews and a day-long deposition of Rajaratnam. The results of these

interrogations were promptly provided to the prosecutor and, in the case of Raja ratnam,

the prosecutor met with the SEC beforehand to discuss "strategy." (Michaelson            26­

A; Tr. 139-45; 733-39.) The government now contends that the interview results were

useless and disclosure of a criminal as opposed to an SEC investigation would have been

harmful. Perhaps so, but that is the very decision a reviewing court, not the government,

should be making.

       Cut of the same cloth is the representation that the conventional use of search

warrants "is not appropriate at this stage of the investigation, as the locations where ...

records related to the scheme have not been fully identified, if at all." (Kang Ex. 1 at 47.)

At that stage in the   investigation~~unknown   to Judge Lynch-the government had, in

fact, accumulated or had access to four million Galleon documents obtained through




                                             41
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 42 of 68




either SEC or grand jury subpoenas and had built a compelling circumstantial case of

insider trading in several securities. (See Kang Exs. 4, 21, 22; Michaelson Exs. 59 84,

94,95,96,97,98,100,101,106,120.) Moreover, the files were so extensive that the

government had not had the time to review them all and was relying on the SEC to do so.

(Franks Tr. at 124,614,685.) This is precisely the nuts and bolts of an investigation that

must be presented to a court if it is to fulfill its function of determining whether

conventional investigative techniques are likely to prove inadequate. 23

       Though less compelling, the Court is also troubled by the Kang affidavit's

reference to the acquisition and review of trading records as an investigative technique.

While acknowledging that it had reviewed "certain" trading records, the affidavit goes on

to state that requesting more records "would jeopardize the investigation" because

"clearing firms ... sometimes alert traders to the requests." (Kang Ex. 1 at 44.) Fair

enough, but it would have been informative to have also disclosed that the SEC had

already issued over two hundred subpoenas for, inter alia, trading records, and that the

grand jury had issued such subpoenas as well, all apparently without jeopardizing its

investigation. The Court, of course, is not charged with fly-specking the government's

affidavit and does not seek to do so. But stepping back to look at the forest, the

government in this case did not merely omit some discrete piece of information possibly



23For much the same reason, the boilerplate assertion that "the issuance of grand jury
subpoena likely would not lead to the discovery of critical information," (Kang Ex. 1 at
43) blinks reality. Grand jury subpoenas and SEC subpoenas had already led to a
mountain of incriminating circumstantial evidence as the impressively detailed
chronologies prepared by Mr. Michaelson fully attest. The government contends that the
reference to the inefficacy of grand jury subpoena was only meant to refer to witness
subpoenas. But of course that is the problem with falling back on boilerplate; unless
brought alive by disclosure of the course of the particular investigation at hand,
boilerplate serves little purpose.


                                              42
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 43 of 68




relevant to a reviewing court's analysis of necessity; it failed to disclose the heart and

soul of its investigation, without which a reasoned evaluation ofthe necessity of

employing wiretaps was impossible.

       2. Suppression Analysis

       Of course, the government's omission is the beginning rather than the end of the

Court's suppression inquiry, for a misleading affidavit alone is not grounds for

suppression. While the Franks analysis discussed above is typically employed to

evaluate misstatements and omissions relating to probable cause, the Second Circuit has

extended the Franks analysis to other Title III requirements for obtaining a warrant. See

United States v. Bianco, 998 F.2d 1112, 1125-26 (2d Cir. 1993) (applying Franks to 18

U.S.C. § 2518(11 )(a)(ii), which requires that the government explain why "specification

of the place of interception is not practical"). And district courts in this Circuit have done

so with respect to the issue of necessity in particular. See United States v. King, 991 F.

Supp. 77, 88-90 (E.D.N.Y. 1998); United States v. Sanchez-Flores, No. 94-CR-864, 1995

WL 765562, at *5 (S.D.N.Y. Dec. 29, 1995). Cf United States v. Guerra-Alarez, 928

F.2d 665,670-71 (5th Cir. 1991); United States v. Cole, 807 F.2d 262,267-68 (1st Cir.

1986); ippolito, 774 F.2d at 1485 ("although Franks dealt specifically with probable

cause, its reasoning applies [to Title Ill's necessity requirement] as well"). Thus, to

warrant suppression on the issue of necessity, Rajaratnam must establish (1) that the

omissions from the Kang Affidavit regarding the necessity of using wiretaps were the

product of the government's "deliberate falsehood" or "reckless disregard for the truth",

and (2) that, after inserting omitted information and setting aside misstatements, the




                                              43
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 44 of 68




affidavit fails to establish necessity. See Coreas, 419 F.3d at 155.   Rajaratnam has

made the fonner showing but not the latter.

                a. Reckless Disregard

       Having heard the testimony of the government witnesses at the Franks hearing,

the Court comfortably concludes that no one acted with the deliberate intent to mislead

Judge Lynch. Recklessness, however, is another matter. As discussed in the probable

cause analysis, recklessness may be inferred when omitted infonnation was "clearly

critical" to assessing the legality of employing a wiretap. Reilly, 76 F.3d at 1280. Here

the issue is whether the omission ofinfonnation regarding the nature and scope of the

SEC investigation upon which the government's own investigation was based would

have been critical to Judge Lynch in assessing whether conventional investigative

techniques would (or had) failed and, therefore, a wiretap was necessary. The Court,

putting itself in the shoes of the original reviewing court, has already answered that

question in the affirnlative.

        The government demurs, arguing that it could not have acted recklessly in failing

to disclose a "more detailed description of the SEC investigation" because it "did not

view that investigation as an investigative technique under control of the Criminal

Authorities." (Gov't Post Hr'g Opp'n at 22,26). The Court finds this argument

unpersuasive for several reasons. As an initial matter, the government's description of

the underlying issue as simply whether a "more detailed" description of the SEC

investigation was warranted reflects the very fundamental flaw in the original Kang

affidavit. The issue is not the accuracy of passing references to having received discrete

pieces of infonnation from the SEC. The issue is whether the government should have




                                              44
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 45 of 68




informed the reviewing court of the array of conventional investigative techniques

contemporaneously being employed by the SEC to unearth significant evidence of insider

trading, all of which was at the core of the government's OVvTI criminal investigation.

Furthermore, the government's contention that disclosure was somehow inappropriate

because it did not and could not "control" the SEC investigation is formalism carried to

its extreme. And, of course, it does not address the proper inquiry under the first prong of

the Franks analysis; whether it was "clearly critical" to the reviewing court's analysis of

the necessity issue to be informed that conventional investigative techniques were then

being employed by the SEC and relied upon by the government, all at the time that the

government was providing boilerplate assurances that alternative investigation techniques

"appear unlikely to succeed."

               b. Materiality

                        i. Legal Standard

       A showing that the government acted recklessly is only half of Rajaratnam's

burden. Rajaratnam also bears the burden of proving that the misstatements and

omissions were material. Indeed, under Franks, "[t]he ultimate inquiry on a motion to

suppress is ... not whether the affidavit contains false allegations or material omissions,

but whether after putting such aside, there remains a residue of independent and lawful

infornlation sufficient" to support the affidavit. Ferguson, 758 F.2d at 848. In making

that determination, "a court should disregard the allegedly false statements and determine

whether the remaining portions of the affidavit would support" the affidavit. United

States v. Trzaska, III F.3d 1019, 1027-28 (2d Cir. 1997); see also Canfield, 212 F.3d at

718. And omissions should also be corrected. See Ferguson, 758 F.2d at 848. A court,




                                              45
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 46 of 68




therefore, "should ...delete false or misleading statements and insert the omitted tmths

revealed at the suppression hearing." Ippolito, 774 F.2d at 1486 n.l.

       One further issue deserves mention. The Supreme Court has stated that "an

otherwise insufficient affidavit cannot be rehabilitated by testimony concerning

inforn1ation possessed by the affiant when he sought the warrant but not disclosed to the

issuing magistrate." White/e,v v. Warden, Wyo. State Penitentiwy, 401 U.S. 560,565 n.8

(1971). Citing that statement, Rajaratnam repeatedly argues that the Court should not

consider many of the government's arguments as to the sufficiency of a corrected

affidavit because those arguments are "post-hoc rationalizations" that the government did

not make in the initial application. (See, e.g., Rajaratnam Post Hr'g Reply Br. at 13.)

Rajaratnam's argument that this would give the government "a free second bite at the

application apple" (Rajaratnam Post Hr' g Reply Br. at 5) is appealing, but overly simple.

       As an initial matter, Whiteley is not exactly "controlling Supreme Court"

precedent." (Rajaratnam Post Hr'g Reply Br. at 21.) That case involved a challenge to

the sufficiency of a warrant application, not a Franks proceeding regarding the tmth of an

application. See Whiteley, 401 U.S. at 564. Since a Franks proceeding requires deleting

falsehoods and correcting omissions, the entire premise of the Franks approach is that the

court must consider infonnation that did not appear in the original affidavit. In that case,

arguments about what that affidavit would have meant necessarily involve inferences that

were not explicitly made in the original affidavit. Indeed, the Eighth Circuit has held

Whiteley inapplicable to Franks for precisely that reason. See United States v. Finle)},

612 F.3d 998,1003 n.7 (8th Cir. 2010).




                                             46
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 47 of 68




       What is more, Rajaratnam's argument that "the remaining content is simply the

factually corrected affidavit" and does not "include a supplementary advocacy piece"

(Rajaratnam Post Hr'g Reply Br. at 5 (emphasis in original), elides the fact that, because

the Court does not literally rewrite the affidavit, the exact content of the "remaining

content" is amorphous. Rajaratnam's distinction comes close to tying the government's

hands in arguing the materiality point. Cf United States v. Williams, 737 F.2d 594, 604

(7th Cir. 1984) (reasoning in Franks proceeding related to probable cause that "if the

challenger is permitted to marshal all exculpatory facts, fairness dictates that the

government be allowed to support the affidavit with additional inculpatory information

known to the affiant at the time the affidavit was made"). More importantly, it also is

inconsistent with the purpose of both Title III and the Fourth Amendment, for, as

Rajaratnam himself notes, "[t]he point of the Fourth Amendment. . .is not that it denies

law enforcement the support of the usual inferences which reasonable men draw from

evidence" but that it "require[ s] that those inferences be drawn by a neutral

magistrate...." Johnson v. United States, 333 U.S. 10, l3-14 (1948). Therefore, the

Court will draw its inferences from the totality of facts presented in the government's

wiretap application as well as those omitted therefrom.

                       ii.     Application

       The March 7, 2008 affidavit, as corrected, would have informed the issuing judge

that Rajaratnam had been under investigation for insider trading since 1998 when the

U.S. Attorney's office in San Francisco began investigating Roomy Khan; that Khan

cooperated in the investigation of Rajaratnam as part of a plea agreement; that the SEC

began investigating Rajaratnam and Galleon in 2002; that the SEC had interviewed




                                              47
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 48 of 68




eighteen Galleon employees and deposed Rajaratnam and others under oath; that the SEC

had issued over two hundred subpoenas and obtained millions of pages of documents,

including telephone records, trading records, e-mails, and IMs; that all the evidence was

shared with the government through regular meetings during the course of the

investigations; and that the evidence thus gathered enabled both the SEC and the

government to develop substantial circumstantial evidence of insider trading by

Rajaratnam and numerous associates in the securities of several companies. Finally, the

evidence gathered led directly to the FBI's interviews of Roomy Khan during which she

"flipped" and provided the government with direct evidence of insider trading by

Raj aratnam.

       Given the advances made in both investigations through the application of

conventional investigative techniques, it is surely incorrect to say that these investigative

procedures had "failed" in an abstract sense. But Rajaratnam's characterization that "the

government's conventional investigation had yielded a veritable mountain of evidence"

oversimplifies the case. (Rajaratnam Post Hr' g Reply Br. at 19.) On the other hand, the

government repeatedly understates what it found in that "mountain" of evidence, careful

analysis of which, after all, enabled the criminal authorities and the SEC to identify

multiple sources of inside infonnation and flip Khan, thereby developing additional

leads. The government's suggestion that these were only 'weak or non-existent'

circumstantial cases" (Gov't Post Hr'g Opp'n at 38) cannot be squared with the minute­

by-minute analyses of IMs, toll records, and trading records prepared by the SEC and

spoon-fed to the government.




                                             48
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 49 of 68




       However, "failure" in the Title III sense is not an abstract proposition. "Just

because the government had achieved some success in collecting evidence through [a

confidential source] does not demonstrate the success of 'normal investigative

procedures' under Title Ill." Gambino, 734 F. Supp. at 1103. As the government rightly

points out, if that were so, a wiretap would never be approved because a showing of

probable cause would negate necessity and a showing of necessity would negate probable

cause. Cf United States v. MeLee, 436 F.3d 751, 763 (7th eir. 2006) ("[T]he fact that the

government may have been able to indict him in the absence of evidence obtained

through the use of a wiretap does not preclude a finding of necessity.").

       Many of the same documents that were used to compile the SEe chronologies

strongly suggested that Rajaratnam had been careful to exchange nearly all of his inside

information by telephone. (See Franks Tr. 398-408, 702; Gov't Exs. 17,24,32.)

"[W]iretapping is particularly appropriate when the telephone is routinely relied on to

conduct the criminal enterprise under investigation." United States v. Steinberg, 525 F.2d

1126, 1130 (2d eir. 1975); see also Lilla, 699 F.2d at 105 n. 6 ("If the crimes in question

were planned and consummated only by means of telephone...the argument that

wiretapping was the only option might seem more persuasive."). Rajaratnam argues that

"the government cannot satisfy the statutory requirement of necessity simply by defining

the goals of its investigation so expansively that no investigative technique, including

wire surveillance, could ever satisfy them." (Rajaratnam Post Hr'g Br. at 45.) True, but

the fact that the SEC's investigation had identified certain sources did not preclude a

showing that a wiretap was necessary to confirm those sources and fully uncover




                                             49
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 50 of 68




Rajaratnam's network of sources. 24 See United States v. Hinton, 543 F.2d 1002, 1011

(2d Cir. 1976) (rejecting suppression where "even though state or federal officers may

have garnered sufficient information without the use of wiretaps to support an

indictment. ... there was every reason to believe that additional co-conspirators were

involved who could not be successfully investigated without wiretapping"); United States

v. Blount, 30 F. Supp. 2d 308, 312 (D. Conn. 1997) (rejecting suppression where

investigation "reflected the need for additional infornlation to tie conclusively into the

conspiracy not only those targeted by and named in the application, but others then

unidentified" because "[t]hose added purposes buttressed the government's claim that

though successful to a degree, the methods used had not entirely succeeded,,).25

       Rajaratnam responds that if the government believed it needed more evidence

"there was absolutely nothing to prevent the USAO, FBI, and SEC from continuing to

use these same techniques to develop additional evidence going forward based on the

leads already developed." (Rajaratnam Post Hr'g Reply Br. at 15.) Not so says the


24 A corrected affidavit would also have disclosed that the criminal authorities had made
use of grand jury subpoenas to obtain documents from third parties. However,
Rajaratnam introduced no evidence that any of these records produced anything of value.
The original affidavit also represented that the government had tried to conduct physical
surveillance but had failed because Rajaratnam and his confederates worked in large
office buildings and traveled frequently. (See Kang Ex. 1 at 39-42.) Other than the
government's slapdash efforts to perform surveillance and thereby touch all the bases in
its wiretap application, nothing adduced at the Franks hearing cast doubt on the accuracy
of the representation itself.

25Cf United States v. West, 589 F.3d 936, 939 (8th Cir. 2009) ("If law enforcement
officers are able to establish that conventional investigatory techniques have not been
successful in exposing the full extent of the conspiracy and the identity of each
coconspirator, the necessity requirement is satisfied."); United States v. lvfcLee, 436 F.3d
751, 763 (7th Cir. 2006) ("The government's demonstrated need for a wiretap as a means
of identifying all coconspirators and the roles they occupied in the structure of the
conspiracy is sufficient for a finding of 'necessity' under the statute.").



                                              50
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 51 of 68




government. Despite the development of circumstantial evidence that led to flipping

Roomy Khan in early 2008, the criminal authorities say they had "hit a bit of a wall" by

March 2008. (Franks Tr. at 814.) Not surprisingly, both parties' positions are

overstated. It is likely true, as Rajaratnam contends, that the government could have

developed more evidence by conventional means and proceeded to indictment of at least

some alleged co-conspirators. Indeed, the government asserts that this is the very first

time that wiretaps have been used in an insider trading investigation. (Michaelson Ex. 2

at 4.) It is clear that conventional techniques have at least proven adequate in the past.

But whether they were or would be adequate in the present cases requires a more

particular inquiry.

        Could or should the government have done more with conventional techniques to

test whether a wiretap was "necessary"? It is hard to make that argument with regard to

document subpoenas, search warrants, and other forms of documentary investigation.

Over four million documents from targets and third parties had already been gathered.

Analysis of the documentary evidence was fairly sophisticated and while this revealed

much circumstantial evidence of insider trading it also confirmed what one would expect:

insider trading is typically conducted verbally. Thus it seems reasonably unlikely that

additional documents would have produced qualitatively different evidence.

        Rajaratnam argues that the criminal authorities "had not finished doing their own

homework by actually completing their review of the documentary evidence that [the

SEC] had obtained." (Rajaratnam Post Hr'g Reply Br. at 15.) Given that Rajaratnam so

strenuously argues that the SEC and the criminal authorities were effectively one and the

same, his argument that the USAO and FBI needed to rework the analysis provided by




                                             51
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 52 of 68




the SEC is unconvincing. Particularly where the documents suggest that defendants were

careful not leave a paper trail, there is little reason to believe that Judge Lynch would

have required the criminal authorities to repeat the SEC's effort. See Steinberg, 525 F.2d

at 1131. While it is theoretically possible that the criminal authorities could have found a

needle in the haystack, that search hardly would have been "cost-effective", Ippolito, 774

F.2d at 1486, and the government is not "required to exhaust all conceivable investigative

techniques before resorting to electronic surveillance." Concepcion, 579 F.3d at 218.

Moreover, at least one court in this Circuit has rejected a Franks challenge premised in

part on the ground that criminal authorities relied on other agencies' reports about their

own files. See United States v. Pappas, 298 F. Supp. 2d 250,265 (D. Conn. 2004)

(rejecting Franks challenge where FBI agent "fail[ ed) to disclose in his affidavit the fact

that he did not physically review the Arizona OEA's and FBI's files" in part because "the

inclusion of this information in the affidavit would not have precluded a finding that the

Government satisfied the necessity requirement").

        The criminal authorities also had other options. They could have introduced

undercover agents, but Rajaratnam points to no reason why Judge Lynch should have

doubted "the difficulty of introducing a[n undercover agent) into this close-knit scheme."

(Kang Ex.1 at 47.) Whether additional witness interviews were "reasonably unlikely to

succeed" presents a much closer question. As an initial matter, a properly drafted

affidavit would have (and should have) disclosed that the SEC interviewed numerous

Galleon employees, including Rajaratnam himself, and had identified at least twelve

other potential interviewees based on trading records, phone records, and l:\1s. However,

none of the people the SEC interviewed admitted any insider trading and the most useful




                                              52
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 53 of 68




piece of information they provided was that Rajaratnam was friends with Rajiv Goel. In

this respect, at least, it appears that the SEC, and by inference the criminal authorities,

had "hit a wall" of sorts. Where an investigation develops strong circumstantial evidence

of wrongdoing but then is confronted by "stonewalling" by witnesses, the case for

wiretapping is surely strengthened.

       The FBI, however, seemed to have more success than the SEC. When the FBI

interviewed Roomy Khan, she agreed to cooperate, identified sources of information, and

recorded phone calls with Rajaratnam. (Michaelson Exs. 109, 110; Goldberg Ex. 17;

Franks Tr. at 753.) And none of this compromised the covert nature of the criminal

investigation. It is therefore natural to ask why the FBI could not have tried to flip any of

the twelve other potential interviewees that the SEC had identified, including Rajiv Goel.

And if the government is correct that witnesses take a criminal investigation more

seriously than one conducted by the SEC (Franks Tr. at 639-40,654-55, 799-801), it may

be inferred that attempting to interview or seek the cooperation of other witnesses was a

conventional technique that would, in fact, be likely to succeed.

        Two reasons emerged from the hearing, however, as to why it made sense to

approach Khan but not others. First, it was suggested that Khan "was the only one that

[the criminal authorities] had what [they] felt to be convincing enough evidence that

made an approach a reasonable risk to take." (Franks Tr. at 813.) Khan's prior

conviction coupled with damaging IMs, call logs and trading records made this a fair

judgment. Second, and indisputably, Khan's agreement to cooperate against Rajaratnam

in 2002 made her "a good candidate for cooperation" in the present case. (Franks Tr. at




                                              53
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 54 of 68




812-13.) So there was a good reason to start with Khan, and given her unique posture,

her cooperation does not necessarily imply that other targets could also be flipped.

       Rajaratnam dismisses the risks that a failed approach to other targets could

compromise the criminal investigation since the existence of the SEC investigation would

have likely been known by other targets. But the Court sees this as a closer question of

judgment. The Court is aware that "[ d]istrict courts must remain vigilant in ensuring

that. .. reasoning[] based more on efficiency and simplicity than necessity[] will not

justify a wiretap." Concepcion, 579 F.3d at 220. However, Title III only requires a

showing that traditional techniques are "reasonably unlikely to succeed"; "a reasoned

explanation, grounded in the facts of the case, and which squares with common sense, is

all that is required, , . ," Scala, 388 F. Supp, 2d at 404 (internal quotation marks

omitted); see also Concepcion, 579 F.3d at 218; Fury, 554 F.2d at 530. Rajaratnam, who

bears the burden of proof, Franks, 438 U.S. at 155-56, has not introduced any evidence

other than the success of the Khan approach that suggests that attempting to flip other

witnesses was a risk-free strategy that rendered a wiretap unnecessary. And the

government's contention that Roomy Khan was a special case is not unreasonable. In

that circumstance, suppression based on speculation that alternative strategies might have

been effective seems inappropriate. See United States v. Shipp, 578 F. Supp. 980, 989

(S.D.N.Y. 1984) (Weinfeld, J) ("Monday morning quarterbacking as to what

investigative techniques the agents should have employed in addition to what they did

employ is utterly unrealistic, ifnot naive."), aff'd sub nom, United States v, Wilkinson,

754 F.2d 1427 (2d Cir. 1985).




                                             54
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 55 of 68




       Finally, Rajaratnam argues that "[t]he government has conspicuously failed to cite

any case, from any jurisdiction, ever, that found a wiretap to be necessary under the

circumstances that a corrected affidavit would disclose in this case." (Rajaratnam Post

Hr'g Reply Br. at 16.) As an initial matter, that argument seems to saddle the

government with Rajaratnam's own burden of proof. See Franks, 438 U.S. at 155-56.

And Rajaratnam himself fails to cite any case where a court found a wiretap unnecessary

in the circumstances that a corrected affidavit would have disclosed here. 26 Rajaratnam

cites United States v. Aileman, 986 F. Supp. 1228 (N.D. Cal. 1997), but suppression in

that case was based in part on the fact that the criminal authorities "made little

meaningful effort, before [they] applied for the wiretap, to draw on the resources or the

expertise of the Customs Service, the IRS, the INS, the FBI, or the Canadian office of the

DEA" or a related investigation conducted by Canadian authorities. Id. at 1301, 1314.

The entire premise of Raj aratnam' s Franks challenge is that the criminal authorities here

did exactly the opposite with respect to the SEC.

26 The dearth of decisions ordering suppression is hardly surprising, since, with the
exception of United States v. Lilla, 699 F.2d 99 (2d Cir. 1983), and United States v.
Concepcion, No. 07-CR-I095, 2008 WL 2663028 (S.D.N.Y. July 1,2008), rev 'd 579
F.3d 214 (2d Cir. 2009), the Court is not aware of any case in this Circuit where a court
found a wiretap unnecessary in any circumstance. Concepcion was reversed by the
Second Circuit, see 579 F.3d 214, and Lilla is distinguishable because, unlike the
corrected affidavit here, which would have described an extensive investigation to
determine the identity of Rajaratnam's sources, the affidavit in that case "merely asserted
that 'no other investigative method exists to determine the identity' of individuals who
might have been involved" with the drug dealer from whom the officers had already
purchased drugs and, to all appearances, could easily approach again. See id. at 104.
Rajaratnam argues that "[t]he fact that the Second Circuit considered Concepcion to be
'exceptionally close,' even though none ofthese conventional techniques were availahle
to the criminal investigators in that case, simply shows how far short of the statutory
demonstration of necessity a corrected affidavit would fall in this case." (Rajaratnam
Post Hr'g Reply Br. at 16 (emphasis in original).) That argument is misplaced because
the allegedly available techniques in that case-confidential informants and physical
surveillance-were likely unavailable here.



                                              55
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 56 of 68




       Instead, United States v. Zolp, 659 F. Supp. 692, (D.N.J. 1987) seems the most

apposite decision. In that case, which involved a securities fraud scheme regarding a

company called Laser Arms, the government's wiretap applications claimed that:

       participants in securities fraud schemes conduct much of the unlawful side of their
       business over the telephone; such participants are aware the paper documentation
       involved in their business is subject to being subpoenaed and they thus often
       prepare such documentation so as to conceal wrongdoing; the confidential
       informant's knowledge of, and anticipated testimony on, the conspiracy would be
       insufficient to bring about convictions of all participants in the conspiracy;
       surveillance and searches of the premises would be insufficient to reveal the full
       extent of the conspiracy; and, because many of the suspects were aware of the
       pending SEC investigation into Laser Arms, they were particularly cautious about
       infiltration and "normal" governmental surveillance.

Id. at 710. Like Rajaratnam here, Zolp argued (a) that the "affidavits failed to set forth

details of [a] SEC civil proceeding against Laser Arms and thus failed to advise the judge

to whom the initial wiretap application was directed that normal investigative

surveillance techniques had already proven effective in the investigation" and (b) that

"the judges to whom the applications were made might not have authorized the wiretaps

had they been made aware of the success which 'normal' investigative techniques had

already achieved." Id. But the court found this argument "unpersuasive" where "the

judges to whom the wiretap applications were made were aware that non-wiretap

techniques had produced infornlation against Laser Arms at least sufficient to suspend

trading in Laser Arms stock" but "the affidavit [wa]s explicit that 'normal' techniques

were unlikely 'to determine the complete scope of the RICO conspiracy and related

predicate offenses in which [tbe targets] [we ]re involved, and to identify the other

participants and the roles played by such other participants.'" Id. at 710-11. Just so, with

the affidavit, as corrected, here.




                                             56
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 57 of 68




       C.      Chiesi' s Claims

       Chiesi also argues that the government failed to demonstrate necessity in its initial

August 13,2008 wiretap application. She makes two arguments. First, she accuses the

government of misstating information in the August 13, 2008 Kang Affidavit. (Chiesi

Br. at 10, 16 n.9 & n.10.) Second, she says that the government did virtually no

investigation of her before requesting wiretap authorization--in other words, that there

were not minimally adequate facts to justify Judge Sullivan's order authorizing wiretaps

of her phones. (Chiesi Br. at 10-11,14-20.) Both arguments are unavailing.27


       ].      False or lvfisleading Statements or Omissions in the August 13 Kang
               Affidavit

       Chiesi argues that the August] 3, 2008 Kang Affidavit made various false

statements. Unlike Rajaratnam, Chiesi does not request a Franks hearing to probe the

government's conduct in preparing its first application, on August 13,2008, for

authorization to wiretap her phones. Instead, she appears to argue that suppression is

warranted based on the allegations made in her brief. However, there is "a presumption

of validity with respect to the affidavit supporting the search warrant", Franks, 438 U.S.

at ] 71, and Chiesi's allegations do not come close to showing that the affidavit was false




27Chiesi also incorporates all of Rajaratnam's arguments regarding necessity, "because
those allegations are nearly identical to and form the basis of the necessity allegations
with respect to the necessity of the wiretaps over the Chiesi Phones." (Chiesi Br. at 15
n.7.) Were that true, Chiesi would have the same right to a Franks hearing that the Court
granted Rajaratnam. It is not true, however, because there is no indication that the SEC
investigation extended to Chiesi and her sources. The omission of that investigation is
the most glaring problem that Rajaratnam identifies in the government's March 7, 2008
affidavit. But it has little relevance to Chiesi.



                                             57
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 58 of 68




or misleading or that the government drafted it with "reckless disregard", never mind that

its "remaining content is insufficient." ld. at 156. 28




        Chiesi also cites the affidavit's claims that

                                                          claims she calls "clearly

unsupportable," "self-eontradictory," and "untrue." (Chiesi Br. at 16 n.9 & n.] 0, 17.)

Chiesi, for example, believes that it was misleading for the government to say that




28Franks itself states that this standard applies "at that hearing," Franks v. Delaware, 438
U.S. 154, 156 (1978), but given that the Franks standard is designed to ensure that a
"challenger's attack must be more than conc1usory," id. at 17], it would make no sense
that a defendant who chose to challenge an affidavit without a hearing could win
suppression by satisfying a lower standard.


                                               58
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 59 of 68




       Finally, Chiesi accuses the government's affidavit of internal inconsistencies.




_           There is no internal inconsistency here.




       For all these reasons the Court finds no evidence that the government knowingly

or recklessly misled Judge Sullivan. The Court therefore finds no reason to disregard the

"presumption of validity with respect to the affidavit supporting the search warrant."

Franks, 438 U.S. at 171.


       2.      Minimally Adequate Facts in the Affidavit to Justijv Wiretap Authorization

       Chiesi nevertheless attacks the sufficiency vel non of the August 13,2008 Kang

Affidavit's necessity section on the ground that it too closely resembled the necessity

section in the March 7, 2008 Kang Affidavit in support of wiretap authorization for

Rajaratnam's phone. The Second Circuit has held that "generalized and conclusory



                                             59
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 60 of 68




statements that other investigative techniques would prove unsuccessful" are inadequate

to satisfy the necessity requirement. Lilla, 699 F.2d at 104. True enough, but Judge

Sullivan has made a considered deternlination that the August 13,2008 Kang Affidavit

adequately supported a finding that wiretaps were necessary to the government's

investigation of Chiesi. And, absent any misstatements, that determination is entitled to

"considerable deference," Concepcion, 579 F.3d at 217 & n.l, with the reviewing court's

task limited to ensuring that the application was "minimally adequate to support the

determination that was made," Miller, 116 F.3d at 663.

       The August 13, 2008 Kang Affidavit was particularized enough to Chiesi to pass

muster under this standard of review.




                           The fact that the Rajaratnam warrant affidavit closely parallels

the Chiesi one is similarly unproblematic. Where boilerplate accurately depicts the facts

on the ground, Title III requirements are satisfied. See United States v. Herrera, No. 02­

CR-0477, 2002 WL 31133029, at *2 (S.D.N.Y. Sept. 23, 2002) (Kaplan, J.) (upholding

use of "boilerplate" language, noting that it "should come as no surprise that the facts

supporting the conclusion that the alternative methods would be unavailing often are

similar from one narcotics operation to another").




                                             60
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 61 of 68




       Chiesi also argues that the August 13,2008 Kang Affidavit is insufficient on its

face because the government failed to first try a number of conventional techniques"




                                                                     But "(a]gents are not

required to resort to measures that will clearly be unproductive." Terry, 702 F.2d at 310.

Even assuming that the use of alternative techniques would have achieved some measure

of success, the government was entitled to use a wiretap if necessary to achieve other

investigatory objectives. 30 See Gambino, 734 F. Supp. at 1103; United States v.

Cartagena, 593 F.3d 104, 110 (1st Cir. 20 10) ("Even if traditional investigative

procedures produce some results, the partial success of the investigation does not mean

that there is nothing more to be done.") (emphasis in original) (internal quotation marks

and alterations omitted). In this case, the government provided a "reasoned explanation"

that "square[d] with common sense," Scala, 388 F. Supp. 2d at 404, as to why only a

wiretap would achieve all of its investigatory goals. That "is all that is required." Shipp,

578 F. Supp. at 989.




                            But "[t]here is no rule on the amount of time investigators
must try and fail, using other methods, before turning to a wiretap application." United
States v. Cartagena, 593 F .3d 104, 11 0 (1 st Cif. 2010) (brackets in original) (internal
quotation marks omitted).

30Chiesi also contends that other insider trading investigations have succeeded without
using Title III, and this one could have too. But on that logic Title III would never justify
wiretapping for types of investigations that sometimes succeed without wiretaps. That is
not the law.



                                             61
       Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 62 of 68




         In sum, the government fulfilled its statutory responsibility to "infOlID the

authorizing judicial officer ofthe nature and progress of the investigation and of the

difficulties inherent in the use of normal law enforcement methods." Torres, 901 F.2d at

231. At the least, minimally adequate facts existed to justify Judge Sullivan's decision

authorizing the wiretaps of Chiesi' s phones.


IV.      Minimization

         Rajaratnam and Chiesi both challenge a number of intercepts because they say the

government failed to minimize properly. Title III requires that eavesdropping "be

conducted in such a way as to minimize the interception of communications not

otherwise subject to interception under this chapter." 18 U.S.C. § 2518(5). Every

wiretap order must contain a provision mandating minimization in accordance with Title

III. See id. Here, the judges who authorized wiretapping of both defendants' telephones

included such a provision in their orders of authorization. Therefore the question is

"whether the [g]overnment obeyed the provision in carrying out the wiretaps." United

States v. Salas, 07-CR-0557, 2008 WL 4840872, at *6 (S.D.N.Y. Nov. 5, 2008) (Koeltl,

J.).

         The minimization requirement "does not forbid the interception of all nonrelevant

conversations, but rather instructs the agents to conduct the surveillance in such a manner

as to 'minimize' the interception of such conversations." Scott v. United States, 436 u.S.

128, 140 (1978). It "only requires a reasonable effort to minimize the interception of

irrelevant calls." United States v. McGuinness, 764 F. SUPP. 888, 900 (S.D.N.Y. 1991)

(citing United States v. A4anfredi, 488 F.2d 588 (2d Cif. 1973), cert. denied, 417 U.S. 936

(1974).



                                                62
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 63 of 68




       Compliance is measured by the reasonableness of the monitoring agents under the

circumstances. See Scott, 436 U.S. at 139; Salas, 2008 WL 4840872, at *6.

Reasonableness is gauged "in the context of the entire wiretap, as opposed to a chat-by­

chat analysis." McGuinness, 764 F. Supp. at 90l. "[T]he mere fact that every

conversation is monitored does not necessarily render the surveillance violative of the

minimization requirement of the statute .... [N]o electronic surveillance can be so

conducted that innocent conversation can be totally eliminated." United States v. Bynum,

485 F.2d 490,500 (2d Cif. 1973), vacated on other grounds, 417 U.S. 903 (1974). Even

"where the percentage of nonpertinent calls is relatively high," their interception may still

be reasonable in some cases. Scott, 436 U.S. at 140. And "when the investigation is

focusing on what is thought to be a widespread conspiracy more extensive surveillance

may be justified in an attempt to detennine the precise scope of the enterprise." !d.

Moreover, the "minimization requirement does not extend to calls lasting two minutes or

less." Salas, 2008 WL 4840872, at *6 (citing Bynum, 485 F.2d at 500); see United States

v. Capra, 501 F.2d 267, 275-76 (2d Cif. 1974).

       The government has the burden to show that it properly minimized intercepts.

See United States v. Rizzo, 491 F.2d 215, 217 n.7 (2d Cif. 1974). Once a prima facie

showing is made, the burden shifts to the defendant to show that, despite a good faith

compliance with the minimization requirements, "a substantial number of non-pertinent

conversations have been intercepted unreasonably." United States v. Menendez, No. 04­

219,2005 WL 1384027, at *3 (S.D.N.Y. June 8, 2005) (citing cases); United States v.

Ianniello, 621 F. Supp. 1455, 1470 (S.D.N.Y. 1985) (Weinfeld, J.).




                                             63
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 64 of 68




       A.      Raj aratnam 's Claims

       In support of his claim that the government failed to comply with the

minimization requirement, Rajaratnam cites 150 calls that were non-pertinent but were

still recorded. (See Rajaratnam Br. at 74.)


                                                                                   •

                                                     In these circumstances the

government's conduct in monitoring the Rajaratnam wiretap was objectively reasonable.

See Salas, 2008 WL 4840872, at *7 (failing to minimize 11 calls out of 1,541 "was not

objectively unreasonable"); Bynum, 485 F.2d at 500 ("[N]o electronic surveillance can be

so conducted that innocent conversation can be totally eliminated.").




                                              64
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 65 of 68




       Considering the "nature and scope of the criminal enterprise under investigation,"

Pichardo, 1999 WL 649020, at *6, the small number of interceptions to which

Rajaratnam raises any objection at all,

                                                 the Court finds that the government acted

objectively reasonably under the circumstances. No suppression is required.


       B.      Chiesi' s Claims

       Chiesi claims that 155 calls

                                                  pertained solely to personal issues. She

contends that the government made virtually no effort to minimize these recordings.

(Chiesi Br. at 32.) The Court disagrees.




                                                                                 That the

calls contained both personal and pertinent content, however, does not make them non­

pertinent altogether. Nor does it mean that the calls should have been terminated for

veering into the speakers' personal lives. As Judge Koeltl noted in Salas, "[s]ome

allowance must ... be made for the fact that conversations can shift topics, and it would

be unreasonable for surveilling agents to minimize each call that did not begin as

incriminating." Salas, 2008 WL 4840872, at *7; see Ianniello, 621 F. Supp. at 1471 ("It



                                            65
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 66 of 68



is common, of course, for conversations to treat more than one subject, and entirely

possible for such dialogues to be comprised of discussion of innocent matters,

interspersed with topics of a criminal nature. The statutory requirement of minimization

does not mean that only communications exclusively devoted to criminal subjects may be

intercepted.") .




        The government's efforts here were at least as good as those upheld in Salas.




                                            66
    Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 67 of 68



                                                               2008 WL 4840872, at *7.



                       Even assuming that all of Chiesi' s contentions are right, the Court

finds the government's conduct objectively reasonable under the circumstances.




                                           67
     Case 1:09-cr-01184-LAP Document 148 Filed 11/29/10 Page 68 of 68




CONCLUSION

        For the foregoing reasons, Rajaratnam's and Chiesi's motions [86,90] to suppress

are denied. 31



SO ORDERED.

Dated: New York, New York
       November ~, 2010

                                                                                              ...
                                                             Richard J. Holwell
                                                          United States District Judge




31By letter dated May 1 2010, Chiesi also moved to suppress evidence that the
government had obtained pursuant to wiretaps of phones used by C.B. Lee and Ali Far.
That motion is denied. First, as Chiesi implicitly acknowledges, evidence obtained from
the Rajaratnam and Chiesi wiretaps supports probable cause for wiretapping Lee's and
Far's phones. (See May 12,2010 Letter at 2.) Second, Chiesi has not established that the
government's October 14,2008, application to wiretap Lee's and Far's phones was
deficient in describing why wiretaps were necessary. Chiesi says that the government
only attempted physical surveillance of Lee once, and that its October 14 affidavit closely
resembled the August 13,2008 affidavit. This argument fails for exactly the reasons
articulated above in the section rejecting Chiesi's motion to suppress based on the
government's failure to establish necessity.



                                            68
